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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                               Chapter 11
    BARFLY VENTURES, LLC, et al, i                             Case No. 20-01947-jwb
                                                               Hon. James W. Boyd
                          Debtors.                             Jointly Administered


    NOTICE OF FIRST APPLICATION OF JAFFE RAITT HEUER & WEISS, P.C. FOR
     COMPENSATION & REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE
              OFFICIAL COMMITTEE OF UNSECURED CREDITORS

       Notice is hereby given that the following professional persons have made application to
the United States Bankruptcy Court for the Western District of Michigan for allowance and
payment of fees and expenses incurred for the period from June 25, 2020 through October 31,
2020, as listed below:

    Professional (name and address):                Jaffe Raitt Heuer & Weiss, P.C.
                                                    27777 Franklin, Suite 2500
                                                    Southfield, MI 48034

    Fees requested:                                 $117,864.29

    Expenses requested:                             $482.32

    Fees previously allowed by Court:              N/A


PLEASE NOTE: The application is available for public review at the Clerk's Office, One Division
North, Grand Rapids, Michigan, Monday through Friday, from 8:00 a.m. - 4:00 p.m. No hearing
will be set before the Court unless a written objection to this application is timely filed with the
Clerk of the Bankruptcy Court. If you have any objection, you have 21 days from the date of
service of this notice in which to file such written objection. If an objection is filed, a subsequent
notice will be sent to you of the date, time and location of the hearing on the objection.

1 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant Saloon)(4255).


5046904.vl
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                  ANY OBJECTION MUST BE TIMELY FILED WITH:

                             United State Bankruptcy Court
                                  One Division North
                             Grand Rapids, Michigan 49503

               A COPY OF ANY OBJECTION MUST ALSO BE SENT TO:

                             Jaffe Raitt Heuer & Weiss, P.C.
                                    Attn: Paul R. Hage
                               27777 Franklin, Suite 2500
                               Southfield, Michigan 48034



                                        Respectfully submitted by,

                                        JAFFE RAIT HEUER & WEISS, P.C.

                                        By:    /s/ Paul R. Hage
                                        Paul R. Hage (P70460)
                                        27777 Franklin Road, Suite 2500
                                        Southfield, MI 48034
                                        Phone: (248) 351-3000


                                        -and-

                                        SUGAR FELSENTHAL GRAIS &
                                        HELSINGER, LLP

                                        Michael A. Brandess
                                        30 N. LaSalle Street, Suite 3000
                                        Chicago, IL 60602
                                        Phone: (312) 704-9400


                                         Counsel to the Official Committee of Unsecured
                                         Creditors of Barfly Ventures, LLC et al.

Dated: December 2, 2020.
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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN

 In re:
                                                                         Chapter 11
 BARFLY VENTURES, LLC, et                al,2                            Case No. 20-01947-jwb
                                                                         Hon. James W. Boyd
                            Debtors.                                     Jointly Administered


            FIRST APPLICATION OF JAFFE RAITT HEUER & WEISS, P.C.
            FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
        COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

          Jaffe Raitt Heuer & Weiss, P.C. ("Jaffe''), counsel to the Official Committee of Unsecured

Creditors of Barfly Ventures, LLC (the "Committee") appointed in the above-captioned chapter

11 cases, submits this first application (the "Fee Application") for compensation for services

rendered and reimbursement of expenses incurred as counsel to the Committee from June 25,2020

through October 31, 2020 (the "Application Period"), pursuant to section 330 and 331 of the

Bankruptcy Code, Rule 2016 of the Federal Rules of Bankruptcy Procedure, Local Bankruptcy

Rule 2016-2 and the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [Doc. No. 113] (the "Compensation Order").3 In

support of this Fee Application, Jaffe states:



2 TheDebtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(l 129),
50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids Brewing
Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-
Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC
(9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970), HopCat-
Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington,
LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-
Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis,
LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant
Saloon)(4255).

3 The Bankruptcy Code is set forth in 11 U.S.C. §§ 101 etseq. Specific sections ofthe Bankruptcy Code are identified
herein as "section      Similarly, specific rules from the Federal Rules of Bankruptcy Procedure are identified herein
as "Bankruptcy Rule " and specific rules from the Local Bankruptcy Rules of the United States Bankruptcy Court
for the Western District of Michigan are identified herein as "Local Bankruptcy Rule ."
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                                      Jurisdiction & Venue

                 The Court has jurisdiction over this matter under 28 U.S.C. § 1334 and

28 U.S.C. § 157(a). This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper in this

District under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested in this Fee

Application are sections 330, 331 and 503(b)(2), Bankruptcy Rule 2016 and Local Bankruptcy

Rule 2016-2.

                                           Background

       2.        On June 3, 2020, Barfly Ventures, LLC and its affiliates (collectively, the

"Debtors") filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors continue to manage their remaining assets and financial affairs as debtors in possession.

                 The Office of the United States Trustee appointed the Committee on June 23, 2020

[Doc. No. 85].

       4         The Court entered an order approving Jaffe's employment as counsel for the

Committee, retroactive to June 25, 2020, on August 10, 2020 [Doc. No. 232] (the "Employment

Order").

       5.        The Court entered the Compensation Order on June 30, 2020. The Compensation

Order authorizes professionals retained in these cases, including Jaffe, to file with the Court and

serve monthly statements of fees and expenses on parties identified in the Compensation Order.

If no timely objections were filed, the Debtors were authorized to pay each professional 80% of

the fees and 100% of the expenses requested in each monthly statement.

                                    Request for Compensation

       6.        In connection with professional services rendered to the Committee in these cases

during the Application Period, Jaffe seeks allowance of an administrative expense pursuant to

section 503(b)(2) in the amount of $118,346.61, which consists of compensation in the amount of
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$117,864.29 and reimbursement of expenses incurred in the amount of $482.32. Additionally, to

the extent not previously paid under the Compensation Order, Jaffe seeks prompt payment of such

administrative expense.

                   As provided by the Compensation Order, Jaffe served monthly statements for

interim compensation and expense reimbursement for the months of June 2020, July 2020, August

2020, September 2020 and October 2020 (each, a "Monthly Statement" and collectively, the

"Monthly Statements") during the Application Period. The amounts sought under each Monthly

Statement are summarized as follows:

                                                         Total Fees &       Fees & Expenses Paid    Outstanding
  Monthly Period         Fees          Expenses
                                                          Expenses         Per Compensation Order     Balance

     June 2020            $25,050.00           $0.00          $25,050,00               $20,040.00         $5,010.00
     July 2020            $29,336.29          $16.29          $29,352.58               $29,336.29            $16.29
    August 2020           $17,235.00           $0.00          $17,235.00               $13,788.00         $3,447.00
  September 2020          $31,705.00         $318.76          $32,023.76               $25,682.76         $6,341.00
   October 2020           $14,538.00         $147.27          $14,685.27               $11,777.67         $2,907.60

             Total:      $117,864.29         $482.32 r       $118,346.61              $100,624.72        $17,721.89


The fees and expenses for October 2020 ($11,777.67) that are payable under the Compensation

Order have not yet been paid, but Jaffe understands that such amounts will be paid in the coming

days.

        8.         Attached to this Application as Exhibits A-E, in the form of the Monthly

Statements, are detailed statements of fees and expenses incurred during the Application Period.

The time described in the Monthly Statements attached to this Application represents the actual

amount of time spent or, in certain instances, less than the actual amount of time spent by Jaffe

attorneys and paralegals who rendered the services described. Certain time reflected in the

Monthly Statements has been either reduced or "no-charged" by Jaffe to reduce the burden on the

estates related to multiparty conferences or to other services deemed in hindsight to warrant

adjustment.
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        9.      No objections to the Monthly Statements were filed, and under the Compensation

Order, Jaffe was entitled to, and received, payment of $100,624.72 from the Debtors for fees and

expenses incurred during the Application Period.

        10.     Jaffe's hourly rates of compensation for attorneys and paraprofessionals during the

Application Period ranged from $235.00 to $495.00. These rates are comparable to, or lower than,

rates charged by other practitioners having the same level of experience, expertise, and standing

for similar services. Jaffe consistently and consciously made every reasonable effort to represent

the Committee in the most economical, efficient, and practical manner possible.

       11.      Jaffe professionals expended significant effort during the Application Period to

ensure the successful administration of these chapter 11 cases. On behalf of the Committee, Jaffe

undertook an investigation of the Debtors' business operations, addressed various issues related to

the paycheck protection program loan obtained by the Debtors, investigated certain claims and

causes of action belonging to the Debtors' estate, helped to ensure a fair and fulsome sale process

aimed at maximizing the value of the Debtors' assets for the benefit of creditors, negotiated a

resolution of certain objections to the sale of the Debtors' assets to their pre-petition lenders, and

addressed various other issues consistent with their duties as counsel for the Committee.

Accordingly, the time spent and expenses incurred during the Application Period were necessary

and appropriate under the circumstances.

       12.      The services rendered by Jaffe during the Application Period are grouped into

various categories, and the attorneys and paraprofessionals who rendered those services are

identified—along with the number of hours spent by each individual and the total compensation

sought for each category—in the attachments to this Fee Application. Brief descriptions of the

services rendered by Jaffe during the Application Period, by category, follow:
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     A.    Asset Analysis

       Jaffe spent 63.8 hours analyzing and litigating issues related to the paycheck protection

loan obtained by the Debtors' prior to the petition date and the ability of the Debtors' to use such

funds to operate their business post-petition. This matter code also captures certain time spent

analyzing potential causes of action belonging to the Debtors' estates, and the scope of directors'

and officers' insurance coverage for such causes of action.

     B.    Asset Disposition

       Jaffe spent 100.5 hours analyzing the Debtors' proposed sale strategy in these cases,

reviewing, revising and objecting to the Debtors' proposed sale procedures, consulting with the

Debtors and their professionals regarding the status of the Debtors' marketing and sale efforts,

preparing an objection to the sale of substantially all of the Debtors' assets to their prepetition

lenders pursuant to a credit bid, participating in mediation with the Honorable John T. Gregg to

resolve such objections, documenting the resolution of such objections, and facilitating the closing

of the sale transaction.

      C.   Case Administration

        Jaffe spent 36.1 hours related to the administration of the chapter 11 cases during the

Application Period. This category includes communicating with other estate professionals

regarding the status of the chapter 11 cases and strategy, evaluating and investigating the Debtors'

operations and requesting related information, reviewing and addressing first day and other

motions filed in the bankruptcy cases, analyzing insider and affilliate bankruptcy filings and

related claims/strategy, evaluating conversion/liquidating plan alternatives, and evaluating various

options for generating a distribution to general unsecured creditors.
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     D.     Claims

       Jaffe spent 7.3 hours during the Application Period reviewing the Debtors' schedules of

assets and liabilities, reviewing and revising the Debtors' bar date motion and reviewing claims

filed in these chapter 11 cases and considering objections thereto.

     E.     Committee Communications

       Jaffe spent 30.3 hours participating in meetings and communications with the Committee,

as well as addressing specific governance matters for the Committee, during the Application

Period. This category includes regular (usually weekly) conference calls with the Committee

members and professionals to discuss the status of the chapter 11 cases and strategy.

     F.     Employment Applications

       Jaffe spent 46 hours during the Application Period related to preparing and transmitting

the employment applications of Jaffe, Sugar Felsenthal Grais & Helsinger and Amherst

Consulting.

     G.     Employment Objections

       Jaffe spent 6.3 hours during the Application Period analyzing and addressing concerns with

respect to employment applications filed by professionals engaged by the Debtors in the chapter

11 cases.

     H.     Executory Contracts

       Jaffe spent 5.3 hours during the Application Period addressing issues related to the

assumption, rejection and/or assignment of executory contracts and unexpired leases in the chapter

11 cases, including reviewing related motions and orders.
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      /,         Fee Applications/Objections

           Jaffe spent 17.9 hours during the Application Period preparing, reviewing and transmitting

Jaffe's monthly fee statements and reviewing fee statements submitted by other estate

professionals in these chapter 11 cases.

     J.          Financing

           Jaffe spent .9 hours analyzing issues related to the proposed exit financing purportedly

obtained by the purchase of the Debtors' assets.

           13.      Jaffe submits that the compensation sought under this Fee Application represents a

fair and reasonable amount for the services rendered during the Application Period, given the

criteria set forth in section 330 for evaluating applications for compensation, namely:

                (A) the time spent on such services;
                (B) the rates charged for such services;
                (C) whether the services were necessary to the administration of, or beneficial
           at the time at which the service was rendered toward the completion of, a case under
           this title;
               (D) whether the services were performed within a reasonable amount of time
           commensurate with the complexity, importance, and nature of the problem, issue,
           or task addressed;
               (E) with respect to a professional person, whether the person is board certified
           or otherwise has demonstrated skill and experience in the bankruptcy field; and
               (F) whether the compensation is reasonable based on the customary
           compensation charged by comparably skilled practitioners in cases other than cases
           under this title.

11 U.S.C. § 330(a)(3).

           14.      Detailed itemizations of all expenses incurred during the Application Period are set

forth in Exhibits A-D attached to this Fee Application. Expenses during the Application Period

were incurred in the following categories:
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       A. Photocopying

       As set forth in the Monthly Statements, Jaffe incurred copying and printing charges totaling

$3.90 during the Application Period. Jaffe charges clients $0.10 per copy.

       B. PACER and CM/ECF Charges

       As set forth in the Monthly Statements, Jaffe incurred charges for use of the Court's

PACER and CM/ECF system in the amount of $128.20 during the Application Period.

       C. West Iaw Charges

       As set forth in the Monthly Statements, Jaffe incurred Westlaw charges related to legal

research totaling $310.67 during the Application Period.

       D. Conference Call Charges

       As set forth in the Monthly Statements, Jaffe incurred conference call charges totaling

$17.95 during the Application Period.

       E, Transcript Fees

       As set forth in the Monthly Statements, Jaffe incurred a fee of $21.60 on September 2,

2020 related to the purchase of a transcript of a hearing addressing the use of paycheck protection

program proceeds in the chapter 11 cases.

       15.     All expenses incurred by Jaffe in connection with its representation of the

Committee were ordinary and necessary expenses. All expenses billed to the estates were billed in

the same manner Jaffe bills its non-bankruptcy clients. Jaffe does not bill its clients or seek

compensation in this Fee Application for certain overhead expenses, such as local and long­

distance telephone calls, secretarial services and facsimile transmissions. Such expenses are

factored into Jaffe's hourly rates.
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       16.     This Fee Application is Jaffe's first request for allowance of fees and expenses as

an administrative expense for services performed as counsel to the Committee. Under this Fee

Application, Jaffe seeks an order (a) allowing and approving compensation to Jaffe of $117,864.29

for professional services rendered, and reimbursement of $482.32 for actual and necessary

expenses incurred by Jaffe during the Application Period; and (b) authorizing payment to Jaffe for

amounts approved under the Fee Application to the extent not already paid by the Debtors under

the Compensation Order.

       17.     The Committee professionals did not receive a retainer in these chapter 11 cases.

To date, Jaffe has been paid a total of $100,624.72 by the Debtors for its postpetition fees and

expenses incurred in these chapter 11 cases during the Application Period pursuant to the

Compensation Order. Such amount has not been shared, and no agreement or understanding exists

between Jaffe and any other entity for the sharing of compensation received or to be received for

services rendered in or in connection with these chapter 11 cases. Presuming this Fee Application

is approved in its entirety, the outstanding amount owed to Jaffe for unpaid fees and expenses

during the Application Period will be $17,721.89.

       18.     In compliance with Bankruptcy Rule 2002(a)(6), Local Bankruptcy Rule 2016-

2(c), and the Compensation Order, Jaffe will provide notice of this Fee Application through the

Court's ECF system to: (a) counsel for the Debtors; (b) the Office of the United States Trustee for

the Western District of Michigan; and (c) parties who have filed a notice of appearance with the

Clerk of the Court and requested notice of filings in these cases. Additionally, Jaffe will provide

notice of this Fee Application, by electronic mail, to: (i) BarFly Ventures, LLC, c/o Mark A.

Sellers, III, 35 Oakes Street, SW, Suite 400, Grand Rapids, Michigan 49503, email:

mark@barflyventures.com; (ii) Pachulski Stang Ziehl & Jones LLP (Attn. John Lucas), 150
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California Street, 15th Floor San Francisco, California 94111-4500, email: jlucas@pszjlaw.com;

(iii) Warner Norcross + Judd LLP, 1500 Warner Building, 150 Ottawa Avenue, NW, Grand

Rapids, Michigan 49503 (Attn. Elisabeth M. Von Eitzen), email: eYoneitzen@wnj.com; (iv) the

Office of the United States Trustee, 125 Ottawa Street, Suite 200R, Grand Rapids, Michigan 49503

(Attn. Michael Maggio), email: michael.v.maggio@usdoj.gov; (v) Rayman & Knight, 141 E

Michigan Ave # 301, Kalamazoo, Michigan 49007 (Attn: Steve Rayman), email:

slr@raymanknight.com; and (vi) Paul Hastings LLP, 71 South Wacker Drive, Suite 4500,

Chicago, Illinois 60606 (Attn: Nathan S. Gimpel), email: nathangimpel@paulhastings.com. Jaffe

submits that, in light of the nature of the relief requested, no other or further notice need be

provided.

       WHEREFORE, Jaffe respectfully requests that this Court enter an order substantially in

the form attached as Exhibit F to this Fee Application:

       (a) Allowing and approving an administrative expense in the amount of $118,346.61,
           consisting of $117,864.29 for professional services rendered and $482.32 for actual
           and necessary expenses incurred by Jaffe during the Application Period as the
           Committee's counsel;

       (b) Authorizing payment to Jaffe of $17,721.89; reflecting the amounts approved under
           this Fee Application that were not previously paid pursuant to the Compensation Order;
           and

       (c) Providing Jaffe with any additional relief as may be appropriate under the
           circumstances.
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                                    Respectfully submitted by,

Dated: December 2, 2020             JAFFE RAIT HEUER & WEISS, P.C.

                                    By:    /S/ Paul R, Hage
                                    Paul R. Hage (P70460)
                                    27777 Franklin Road, Suite 2500
                                    Southfield, MI 48034
                                    (248) 351-3000
                                    phage@i affelaw.com

                                    -and-

                                    SUGAR FELSENTHAL GRAIS &
                                    HELSINGER, LLP

                                    Michael A. Brandess
                                    30 N. LaSalle Street, Suite 3000
                                    Chicago, IL 60602
                                    (312) 704-9400
                                    mbrandess(a).sfdi.com.

                                    Counsel for the Official Committee of Unsecured
                                    Creditors of Barfly Ventures, LLC
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                             Exhibit A
                    (June Monthly Fee Statement)
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                                       Doc #:410 Filed:
                                                   Filed:12/02/2020
                                                          07/17/2020 Page
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                                                   JAFPE RAITT HEUER & WEISS
                                                     , i Pmjhstnml Ctirjxtratian
                                                    A Hnrneys {f: QwrwJors'

                 27777 FRANKUN RQADj $U1TE 2500 *• RO, i BOX 5034 • 'SdUTHPfgLD^ MICHtGAN :48D86-5034
                                       PHONE 248.351,3000 • FAX 248.351.3082
                                                  Www.iaffelaY/.com



   Official Committefe of Unsecured Creditors of BaJuly 14, 2020
   c/o Gordon Food Service, Inc.
   Sharon Murphy - Director, of Credit
   1300 Gezon Parkway SW
   Wyoming, MI 49509-9300                          Invoice No. 462981




FOR LEGAL SERVICES RENDERED THROUGH JUNE 30, 2020
AS ITEMIZED ON THE ATTACHED REPORT:


ASSET ANALYSIS

                                                   Total Fees                        $5,197.50
                                                   TOtal Costs                              $0. 00

                                                   Subtotal                          $5,197.50
CASE ADMINISTRATION
                                                   Total Fees                         $7,615.00
                                                   Total Costs                              $0.00

                                                   Subtotal:                          $7,615.00
COMMITTEE COMMUNICATIONS

                                                    Total Fees:                       $3,955.50
                                                    Total Costs                             $0 . 00

                                                    Subtotal                          $3,955.50
EMPLOYMENT APPLICATIONS
                                                    Total Fees                        $6,558.50
                                                    Total Costs                           $0 . 00

                                                    Subtotal                          $6,558.50
EMPLOYMENT OBJECTIONS

                                                    Total Fees                        $;l, 723.50
                                                    Total Costs                             $0 . 00

                                                    Subtotal                          $1,723.50
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BKRILY. VENTURES, ET AL, OFFICIAL COMMITTEE OF UN     Jul 14/ 202 0    PACE   2
CLIENT NUMBER; UCCBAR
INVOICE NO.: 452381




                                TOTAL FEES THIS INVOICE               25,050.00

                                TOTAL AMOUNT DUE                      25,050.00




     FED. TAX I,D. XX-XXXXXXX       TERMS:   NET 30 DAYS.

     {Jl}
                 Case:20-01947-jwb Doc
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                                              Filed:12/02/2020
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INVOICE NO,: 462981


      Official Committee 6f': Unsecured Creditors of Barfly Ventures
      ASSET ANALYSIS
* * OPEN FOR TIME ONLY * *


  DATE   ATTY     SERVICE DESCRIPTION                          HOURS

0.6/26/20 JGM REVIEW AND CONSIDER RESERVATION OF RIGHTS FILED       .50      247.50
              BY FIRST BANK {.30)ADDRESS AND CONSIDER EMAIL
              FROM MICHAEL BRANDESS ABOUT SAME (.20).

06/28/20 JGM ADDRESS AND CONSIDER LIMITATIONS AND ALLOWABLE         1.00     495.00
             USES OF PPP FUNDS IN BANKRUPTCY.

06/28/20 PRH REVIEW RESERVATION OF RIGHTS FILED BY FSB AND           .70     283.50
             ANALYSIS RE PPP LOAN ISSUE (.2), CONFERENCE
             CALL WITH E.. NOVETSKY AND J. MILLER RE SAME
             ( . 5) .

06/28/20 EDN CALL WITH MR. HAGE AND MS. MILLER RE PPP LOAN:         2.40     828 . 00
             FUND USE (0.6); RSCH RE SAME (l.S); DRAFT
             SUMMARY EMAIL RE FINDINGS (0.3)

06/29/20 JGM CAL WITH COMMITTEE PROFESSIONALS TO ADDRESS PPP        1,60     792.00
             ISSUES AND HOW TO. PROCEED (1.0) EMAIL TO MARK
             MELICKIAN REGARDING PPP RESEARCH AND ANAI.YSIS
             OF ISSUES (.30), ADDRESS HOW: TO PROCEED WITH
             ANALYSIS OF ISSUES ( .30) .

06/29/20 PRH RESEARCH AND ANALYSIS OF PPP LOAN ISSUES (1.5).        3,70    1498.50
             CONFERENCE CALL WITH SUGAR FELSENTHAL. RE PPP
             STRATEGY (1.1). DISCUSS SAME WITH E, NOVETSKY
             (.7)   RELATED CORRESPONDENCE WITH SUGAR
             FELSENTHAL TEAM (.4).

06/29/20 EDN CALL WITH MR. HAGE RE PPP LOAN ISSUES (0.4);            .70     241.50
             REVIEW OF PPP LOAN RESEARCH (0.2); EMAILS RE
             CONF CALL (.0 ,1)
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                  Case:20-01947-jwb   Doc#:170-1
                                          #:410 Filed:
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CLIENT NUMBER .• IICCBAR
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06/30/20 JGM ADDRESS PPP LOAN DOCUMENTS, APPLICATION AND              .30       148.50
             CERTIFICATIONS MADE BY THE DEBTORS IN
             CONNECTION THEREWITH.

06/30/20 PRH REVIEW DOCUMENTS RELATED TO PPP LOAN (.6}.                >•70     283 ,50
             RELATED- GORRESPONDENCE WITH M. BRANDESS (.1).

06/30/20 EDN CONFER WITH LEAD COUNSEL RE PPP LOAN ISSUES,             1.10      379.50
             STATUTES AND REGULATIONS (0.9); REVIEW OF PPP
             LOAN DOCS (0.2)




    TQTAL HOURS         12 .70         FOR SERVICES RENDERED    $             5197.50




                                       MATTER TOTAL                           5197.50




                                    TIME AND FEE SUMMARY
            -TIMEKEEPER-           ---*    RATE   HOURS              FEES
  JUDITH G. MILLER                       495.00    3-40        1683.00
  PAUL R. KAGE                           405.00    5.10        2 065.50
  ERIC D. NOVETSKY                       345.00    4.20        1449.00
                                 TOTALS           12.70        5197.50
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BARFL^ VENTURES, ET AL    OFFICIAL COMMITTBS OF ON   Jul 14, ,2020            PAGE   5-
CLIENT NUMBER,:: UCCBAR
INVOICE- NG.: 462981




    Official Cprnmifctee of Unsecured Creditors of Barfly Ventures
    CASE ADMINISTRATION
**OPEN FOR TIME ONLY**


  DATE   ATTY    SERVICE DESCRIPTION                           HOURS

06/24/20 PRH REVIEW ALL FILINGS ON DOCKET IN BARELY VENTURES         2.4.0      972.00
             BANKRUPTCY CASES.

06/25/20 JGM ADDRESS PREPARATION OF APPEARANCES FOR ALL               .90       445.50
             COUNSEL FOR THE COMMITTEE (.30), REVIEW AND
             REVISE SAME ( .30) , TRANSMIT APPEARANCES TO
             MICHAEL BRANDESS ALONG WITH EXPLANATION OF
             ACTION TO BE TAKEN (.30) .

06/25/20 JGM REVIEW VARIOUS FIRST DAY ORDERS ENTERED BY THE            70       346.50
             COURT AND PROPOSED REVISIONS THERETO.

06/25/20 JGM PARTICIPATE IN CONFERENCE CALL WITH LISA                1.00       495.00
             VANDESTEEG, MICHAEL BRANDESS AND PAUL HAGE
             ABOUT STATUS OF CASE, POSITION OF DEBTOR,
             POSITION OF LENDERS > VARIOUS ISSUES RELATED TO
             CASE, RETENTION APPLICATION, NOTICES OF
             APPEARANCE, AGENDA FOR COMMITTEE CALL,
             INVESTMENT BANKER APPLICATION, TIMING TO OBJECT
             THERETO AND RELATED ISSUE.

06/25/20 PRH MULTIPLE STRATEGY CALLS WITH M. BRANDESS AND E.         1.80       72.9.00
             VANDESTEEG (1.0). CORRESPONDENCE WITH SUGAR
             FELSENTHAL TEAM RE ACTION ITEMS (.8).

06/25/20 PRH REVIEW AND PROVIDE PROPOSED EDITS TO BUSINESS           1 . 60     648.00
             OPERATIONS PROPOSED ORDERS AND RELATED
             CORRESPONDENCE WITH SUGAR FELSENTHAL TEAM.

06/25/20 PRH CALL TO CHAMBERS RE APPEARANCE VIA ZOOM. AT 6/29         .30       121.50
             HEARING AND REVIEW ZOOM PROCEDURES IN
             CONNECTION THEREIN.
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06/25/20 PRH REVIEW DRAFTS OF APPEARANCES AND. RELATED              .20       81.00
             CORRESPONDENCE.

06/25/20 PRH REVIEW PITCH MATERIALS FROM PROSPECTIVE                ,40      162.00
             FINANCIAL ADVISORS.

06/25/2 0 MEC COMMUNICATIONS W/ J.. MItLER RE NEW CASE             3.00      705.00
              INFORMATION AND ASSIGNMENTS (.3),
              COMMUNICATIONS W/ PRIMARY COUNSEL, SUGAR
              FELSENTHAL (.3); REVIEW DOCKET AND OBTAIN COPY
              OF MOTION FOR INTERIM FEE PROCEDURES (.2);
              REVIEW COPY OF PROPOSED PROCEDURES ORDER {.2) ;
              REVISIONS TO APPEARANCES' (.6). INSTRUCTIONS FOR
              FILING SAME, BEGIN DRAFT OF MOTION FOR
              ADMISSION PRO liAC VICE RE ELIZABETH VANDESTEEG
              {,6); BEGIN DRAFT OF MOTION TO EMPLOY cIAFFE
              (.8). ADDRESS CONFLICT CHECKLIST AND
              COMMUNICATIONS WITH ACCOUNTING RE SAME (.2),
              PREPARE LIST OF MATTER CODES TO BE OPENED (.1).

06/26/20 JGM ADDRESS PREPARATION AND FILING OF NOTICES OF           .30      148.50
             APPEARANCE IN AFFILIATED CASES.

06/26/20 JGM ADDRESS FINALIZING AND FILING OF MOTION TO             .3 0     148.5 0
             ADMIT LISA VANDESTEEG PRO HAG VIGE .

06/26/20 JGM REVIEW AND ADDRESS PROPOSED ORDERS ON FIRST CAY       1.00      495.00
             MOTIONS AND REVISIONS NEEDED THERETO.

06/26/20 MEC FOLLOW UP TELEPHONE CALL FOR INFORMATION RE PRO       2,50      587.50
             HAC VICE MOTION FOR E. VANDESTEEG

06/29/20 JGM REVIEW EMAIL FROM MICHAEL MAGGIO AND ADDRESS           .90      445 ,50:
             WITH CO-COUNSEL (.10), ADDRESS AND SCHEDULE
             CALL WITH MICHAEL AND CO-COUNSEL (.10)
             CONFERENCE CALL WITH MICHAEL MAGGIO, MICHAEL
             BRANDESS, LISA VANDESEEG AND PAUL HAGE TO
             ADDRESS STATUS OF CASE AND TO DISCUSS VARIOUS
             ISSUES ATTENDANT THERETO .( .50), EXCHANGE EMAILS
             WITH MICHAEL MAGGIO AFTER THE CALL {.20).
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06/29/20 PRH PREPARE EOR AND ATTEND ^OOM HEARING RE BUSINESS          1.20    .486.00
             OPERATIONS MOTIONS (1.0) * FOLLOW UP CALL WITH
             E, VANDESTEEG RE SAME (.2).

06/30/20 JGM ADDRESS DOCKETING KEY DATES AND DIRECT MS.                .30     148.50
             CHAPMAN TO PREPARE AND DOCKET SAME.

06/30/20 JGM ADDRESS NOTICES GENERATED FROM CLERK OF THE               .20      99.00
             COURT AS RELATES TO FILING NOTICES OF
             APPEARANCES IN AFFILIATED CASES.

06/30/20 JGM ADDRESS ENTRY OF ORDERS ON BUSINESS OPERATIONS             30     148.50
             ORDER, INTERIM COMPENSATIONS AND OTHER FIRST
             DAY ORDERS.

06/30/20 PRH REVIEW BUSINESS OPERATIONS ORDERS ENTERED BY              ,30     121.50
             COURT.

06/30/20 PRH REVIEW NOTICE RE. FILED DOCUMENT FILED BY                 ,20      81... 00
             CLERK'S OFFICE RELATED TO APPEARANCE'S IN
             JOINTLY ADMINISTERED CASES (.1). REVIEW LOCAL
             RULE AND FOLLOW UP CORRESPONDENGE WITH
             CO-COUNSEL {;1) .



    TOTAL HOURS         19. 80         FOR SERVICES REN&ERED:    $           7615.00




                                       MATTER TOTAL                          7615.00




                                    TIME AND FEE SUMMARY
  *_         TIMEKEEPER- - ~ ~        *    RATE   HOURS                FEES
  JUDITH G. MILLER-                      495.00    5.90         292 0.50
  PAUL R. HAGE                           405.00    8 .40        3402.00
  MAUREEN E. CHAPMAN                     235.00    5.50         1292.50
                                 TOTALS           19,80         7615.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    COMMITTEE COMMUNICATIONS
**OPEN FOR TIME ONLY**


  DATE   ATTY    SERVICE DESCRIPTION                          HOURS

0.6/54/2:0. UGM MEETING WITH COMMITTEE TO ADDRESS STATUS,           .70       346 .50
                ACTION TO BE TAKEN AND SCHEDULING FOLLOW UP
                CALLS

06/24/20 Jem .ATTEND INITIAL COMMITTEE: CALL (.5). RELATED          .70       283.50
              CbRRESPONDENCE WITH COMMITTEE MEMBERS AND
              COUNSEL (,2},

06/25/20 JGM REVIEW AGENDA FOR CREDITORS COMMITTEE MEETING          .70       346.50
             (.20}, ATTEND CREDITORS COMMITTEE MEETING
             ( .50).

06/25/20 JGM REVIEW FINANCIAL CONSULTANT PACKAGES IN                .30       148.50
             PREPARATION FOR COMMITTEE CALL.

06/25/20 PRH PREPARE FOR AND ATTEND COMMITTEE CONFERENCE            .70       283.50
             CALL.

06/26/20 JGM PREPARE FOR COMMITTEE CALL AND REVIEW AGENDA          2 . 00     990.00
             AND MEMOS IN CONNECTION THEREWITH (1.0),
             PARTICIPATE IN COMMITTEE CALL AND INTERVIEWS OF
             FINANCIAL ADVISORS (1.0),

06/26/20 PRH REVIEW DRAFT' COMMITTEE BYLAWS AND RELATED               30      121.50
             CORRESPONDENCE WITH COMMITTEE.

06/26/20 PRH ATTEND CREDITORS' COMMITTEE CONFERENCE CALL.          1. 00      405 .00

06/27/20 JGM REVIEW EMAILS ABOUT SELECTION OF FINANCIAL             .30       148.50
             ADVISOR FOR THE COMMITTEE.
                   Case:20-01947-jwb
                  Case:              Doc#:170-1
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06/28/20 PRH CORRESPONDENCE RE RETENTION OF FINANCIAL                        .20       81. 00
             ADVISOR FOR COMMITTEE.

0 6 / 2 9 / 2 0 JGM REVIEW AGENDA AND RELATED MATERIALS IN                   . 80     396.00
              PKEPARATION OF COMMITTEE CALL          AND PARTICIPATE
              IN COMMITTEE CALL.

06/29/20 PRH PREPARE FOR AND ATTEND COl^MlTTEE CONFERENCE                    . 80     324.00
             CALL,

06/29/20 PRH CORRESPONDENCE WITH R.• GIUNTA RE NEED TO UPDATE                .20       81. 00
             COMMITTEE MEMBER NOTICE ADDRESS.




    TOTAL HOURS           8 .70            FOR SERVICES RENDERED       $            3955.50




                                           MATTER TOTAL                             3955.50




                                    TIME . AND FEE SUMK&RY       -
             TIMEKEEPER---                    RATE   HOURS                 PEES
  JUDITH G. MILLER                          495.00    4.80            2376.00
  PAUL R, HAGE                              405.00    3 .90           1579.50
                                  TOTALS              8.70            3955.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    EMPLOYMENT ALLIGATIONS
**QPEN FOR TIME ONLY**


  DATE    ATTY    SERVICE DESCRIPTION                              HOURS

•0.6/25,/^'O' JGM DIRECT MS.. CHAPMAN REGARDING RUNNING CONFLICT    1.20         594.00
                  CHECKS, PREPARATION OF RETENTION APPLICATIONS
                  AND APPLICATION TO ADMIT LISA VANDESTEEG PRO
                  HAC VICE, AND DISCLOSURE QF CONNECTIONS
                  (MULTIPLE EMAILS AND MULTIPLE! CALLS).

06/25/20 JGM ADDRESS EMAIL F&CM MICHAEL BRANDESS ABOUT PRO           1.40        693.00
             HAC VICE ADMISSION MOTION FOR LISA VANDESTEEG
             (.20)/ PREPARATION OF PRO HAC VICE MOTION AND
             PROPOSED ORDER (1.0), ADDRESS FINALIZING
             PLEADINGS WITH MAUREEN CHAPMAN (.20).

06/26/20 PRH ATTENTION TO PRO HAC FOR L. VANDESTEEG AND              1.00        405 .00
             OTHER RETENTION RELATED ISSUES,

06/29/20 JGM ADDRESS PREPARATION OF RETENTION APPLICATIONS             2,50     1237. 5 0
             WITH MS. CHAPMAN (.20), PREPARATION OF
             ENGAGEMENT LETTER FOR COMMITTEE (1.0), FOLLOW
             UP CALL WITH MS. CHAPMAN ABOUT RETENTION
             APPLICATIONS (.30), ADDRESS RETENTION
             APPLICATION WITH MICHAEL BRANDESS (.20),
             ADDRESS RETENTION APPLICATIONS WITH SHELDON
             STONE (.20), FOLLOW UP EMAIL TO SHELDON. STONE
             ABOUT SAME (.20), REVIEW EMAIL FROM MS. CHAPMAN
             TO SUGAR FELSENTHAL ABOUT RUNNING CONFLICTS AND
             EOF REGISTRATION FOR LISA (.20), REVIEW
             REVISIONS TO ENGAGEMENT LETTER { . 2 0 ) .

06/29/20 PRH REVIEW DRAFT ENGAGEMENT LETTER AND RETENTION              1.3 0     526.50
             APPLICATION (1.1) . RELATED CORRESPONDENCE WITH
             J. MILLER AND M. CHAPMAN (2).
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06/29/20 MEC PREPARE DRAFT 03' APPLICATION TO EMPLOY JAFFE,         3.90    916.JO
             DECLARATION OF DISINTERES^EPNESS: AND PROPOSED
             ORDER FOR. EMPLOYMENT (2.5). COMPILING CREDITOR
             LISTS: FOR 24 CASES AND- INSTRUCTIONS TO COMBINE
             AND CONVERT TO EXCEL (1, 0) . COMMUNICATIONS W/
             J. MILLER RE CONFLICT CHECK PROCESS (.2)
             PREPARE COMMUNICATION TO E. VANDESTEEG AND M.
             B. RE CONFLICT CHECKS STILL NEEDED (.2)

06/30/20 JGM ADDRESS ENGAGEMENT LETTER: AND PROVIDE COMMENTS        1.20     594.00
             TO MR. HAGE (,.30), ADDRESS RETENTION
             APPLICATIONS AND PROVIDE COMMENTS TO MR. HAGE
             ( . 50) REVIEW INTERIM FEE APPLICATION ORDER
             (.20), ADDRESS STATUS OF RETAINER AND EMAILS IN
             CONNECTION THEREWITH ( .20)

06/30/20 PRH. ATTENTION TO PROFESSIONAL RETENTION                   1.90     769.50
              APPLICATIONS AND ENGAGEMENT LETTER (1.5). PHONE
              CALL WITH R. GIUNTA REGARDING REQUEST FOR
              CONSOLIDATED CREDITOR MATRIX (.2). REVIEW LIST
              AND RELATED CORRESPONDENCE. WITH M. CHAPMAN
               ( .2) .

06/30/20 MEC COMPILE CONFLICT CHECK LIST {.8). PREPARE EMAIL        3.50     822 .50
             COMMUNICATION TO S.STONE RE AMHERST PARTNERS
             RETENTION ON BEHALF OF THE COMMITTEE AND
             INCLUDE LIST FOR INITIAL CONFLICT CHECK (.4).
             TELEPHONE CALL W/ N BAILEY OF SFGH REGARDING
             RETENTION APPLICATION PROCEDURES AND
             DECLARATIONS (. 3).. COMMUNICATIONS W/ P. HAGE RE
             RETENTION APPLlCilT.I.ON AND CONSOLIDATED LIST OF
             CREDITORS (.4). RECEIPT AND REVIEW ORDER: RE
             INTERIM PROCEDURES COMPENSATION (.3) ATTENTION
             TO CONFLICT CHECK LIST RECEIVED FROM DEBTORS»
             COUNSEL TO CONVERT FOR SEARCHING (1.3).




    TOTAL HOURS        17.90       FOR SERVICES RENDERED        $          6553.50



                                   MATTER TOTAL                            6558.50
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  it   —                     TIME   AND FEE .SUMMARY- -
        ----TIMEKEEPER-----           RATE    HOURS                PEES
 JUDITH G. MILLER                   495.00     6 .30        3118.50
 PAUL R. HAGE                       405.00     4.20         1701.00
 MAUREEN E. CHAPMAN                 235. QO:   7.40         173 9'..0 0
                          TOTALS              17.90         6558.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    EMPLOYMENT OBJECTIONS
**OPEN FOR TIME ONLY**


  DATE   ATTY      SERVICE DESCRIPTION                         HOURS

06/25/20 JGM REVIEW .AND CONSIDER EMAIL FROM- PAUL HAGE             .30      148.50
             REGARDING POTENTIAL OBJECTIONS TO THE RETENTION
             OF MASTODON AS INVESTMENT BANKER AND PROVIDE
             ADDITIONAL COMMENTS ON SAME: TO PAUL HAGE.

06/25/20 E'RE REVIEW MASTODON RETENTION                             2.30     931.50
              APPLICATION/ENGAGEMENT LETTER (.6), PREPARE
              E-MAIL MEMORANDUM TO M. BRANDBSS HIGHLIGHTING
              POTENTIAL ISSUES (1.7).

06/26/20 JGM REVIEW AND CONSIDER MEMO ON ANALYSIS OF ISSUES          .40     198.00
             IN MASTODON RETENTION APPLICATION.

06/26/20 PRH ATTENTION TO MASTODON RETENTION ISSUES AND              .80     324.00
             RELATED CORRESPONDENCE WITH L. VANDESTEBG AND
             M. BRANDESS.

06/29/20 PRH CORRESPONDENCE WITH COMMITTEE PROFESSIONALS RE          .30     121.50
             MASTODON ISSUES.




    TOTAL HOURS          4.10       FOR SERVICES RENDERED     $            1723 .50




                                    MATTER TOTAL              •$:          1723.50
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                             -----TIME AND FEE SUMMARY---—
 *- •      - - TIMEKEEPER-               RATE   HOURS              FEES,
 JUDITH. G. MILLER                     495,0 0    .70          346.50
 PAUL R. HAC4B                         405.00    3.40         1377.00
                               TOTALS            4.10         1723.SO
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                             Exhibit B
                    (July Monthly Fee Statement)
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                          Chapter 11
    BARFLY VENTURES, LLC, et al, i                        Case No. 20-01947-jwb

               Debtors.                                   (Jointly Administered)



                   MONTHLY FEE STATEMENT OF JAFFE RAITT HEUER & WEISS, P.C.
             FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF EXPENSES
             AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR JULY 2020


    Name of Applicant:                           Jaffe Raitt Heuer & Weiss, P.C.

    Authorized to provide services to:           Official Committee of Unsecured Creditors

    Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:     July 2020

    Amount of compensation sought as actual,     $36,650.00
    reasonable, and necessary:                   80% = $29,320.00
                                                 20% = $7,330.00

    Amount of expense reimbursement sought:      $16.29

    Total interim request:                       $29,336.29




1The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(l 129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Ease
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     Phone: (248) 351-3000
                                     phage@i affelaw,com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     Phone: (312) 704-9400
                                     mbradness@sfgh.com
                                     evaiidesteeg@sfgh.com

                                     Counsel for the Committee

Dated: August 14, 2020.
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                                                  laffe
                                                    JAFFE RAITT HEUER & WEISS
                                                       1 frvjfamml Ct>r/iort}Jio/)
                                                     Attomtyx if) Counxclarx

                    27777 FRANKLIN ROAD, SUITE 2500 • P.O. BOX 5034 • SOUTHFIEID, MICHIGAN 48086-5034
                                         PHONE 248.351.3000 • FAX 248.35].3082
                                                    www.jaffelaw.com


    Official Committee of Unsecured Creditors of BaAugust 11, 202 0
    c/o Gordon Food Service Inc.
    Sharon Murphy     Director of Credit
    13 0 0 Gezon Parkway SW
    Wyoming, MI 49509-9300                         Invoice No. 4643 76




FOR LEGAL SERVICES RENDERED THROUGH JULY 31, 2 0 2 0
AS ITEMIZED ON THE ATTACHED REPORT:


ASSET ANALYSIS

                                                     Total Fees                       $5,730 . 00
                                                     Total Costs                            $0 . 00

                                                     Subtotal                         $5,730.00
ASSET DISPOSITION

                                                     Total Fees                       $8,914.50
                                                     Total Costs                            $0 . 00

                                                     Subtotal                         $8,914.50
CASE ADMINISTRATION

                                                     Total Fees                       $1,515.00
                                                     Total Costs                            $0.00

                                                     Subtotal                         $1,515.00
CLAIMS

                                                     Total Fees                       $2,713.50
                                                     Total Costs                            $0. 00

                                                     Subtotal                         $2,713.50
COMMITTEE COMMUNICATIONS

                                                     Total Fees                       $4,207.50
                                                     Total Costs                            $0 . 00

                                                     Subtotal                         $4,207.50
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     DISBURSEMENTS

                                            Total Fees                  $0 .00
                                            Total Costs                $16.29

                                            Subtotal                   $16.29
    EMPLOYMENT APPLICATIONS

                                            Total Fees              $9,407.00
                                            Total Costs                 $0 . 00

                                            Subtotal                $9,407 . 00
     EMPLOYMENT OBJECTIONS

                                             Total Fees               $702.00
                                             Total Costs                $0 . 00


                                             Subtotal                 $702.00
    EXECUTORY CONTRACTS

                                             Total Fees               $162.00
                                             Total Costs                $0.00

                                             Subtotal                 $162.00
     FEE APPLICATIONS / OBJECTIONS

                                             Total Fees             $3,298.50
                                             Total Costs                 $0 . 00

                                             Subtotal               $3,298.50




                              TOTAL FEES THIS INVOICE        $      36,650.00

                              TOTAL COSTS THIS INVOICE       $           16.29

                              TOTAL AMOUNT DUE               $      36,666.29
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    FED, TAX I,D, XX-XXXXXXX    TERMS:   NET 3 0 DAYS

     {Jl}
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    Official Committee of Unsecured Creditors of Barfly Ventures
    ASSET ANALYSIS
**OPEN FOR TIME ONLY**


  DATE   ATTY    SERVICE DESCRIPTION                           HOURS

07/02/20 JGM ADDRESS AND CONSIDER EMAILS ON TREATMENT TO BE       .30      148.50
             ACCORDED TO PPP PROCEEDS.

07/02/20 PRH REVIEW ARTICLE RE PPP LOANS AND RELATED              .50      202.50
             CORRESPONDENCE.

07/16/20 PRH REVIEW PPP MEMORANDUM AND RELATED                    .90      364.50
             CORRESPONDENCE WITH SUGAR FELSENTHAL TEAM.

07/16/20 EDN CALL WITH COMMITTEE PROFESSIONALS RE PPP LOAN        .30      103.50
             ISSUES

07/17/2 0 PRH PHONE CALL WITH M. BRANDESS REGARDING               .50      202.50
              INFORMATION LEARNED AT 341 MEETING (.2). REVIEW
              341 MEETING NOTES (.1) . REVIEW INNOVO
              STIPULATION AND RELATED CORRESPONDENCE WITH
              COMMITTEE PROFESSIONALS (.2) .

)7/20/20 PRH REVIEW MEMORANDUM RE PPP ANALYSIS (.5). RELATED      .70      283.50
             CORRESPONDENCE WITH SFGH TEAM (.2).

17/2 0/2 0 EDN REVIEW OF PPP SUMMARY AND EMAILS RE SAME           .50      172.50

17/23/20 PRH REVIEW TRANSCRIPTS FROM TOOJAYS CASE RE PPP          1.00     405.00
             DISCUSSION (.9). RELATED CORRESPONDENCE WITH
             E. VANDESTEEG AND M. BRANDESS (.1).

 7/24/20 PRH CONFERENCE CALL WITH M. BRANDESS AND E.              2.30     931.50
             VANDESTEEG RE PPP ISSUE STRATEGY (.4).
             CONFERENCE CALL RE PPP STRATEGY WITH J. LUCAS
             (.8). MULTIPLE FOLLOW UP CALLS AND
             CORRESPONDENCE WITH J. LUCAS, M BRANDESS AND E.
             VANDESTEEG (1.1)
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07/27/20 PRH REVIEW U.S. RUGBY FILINGS AND TRANSCRIPT AND                1.80     729.00
             CORRESPONDENCE RE PPP ANALYSIS (.8).
             CORRESPONDENCE RE PPP STRATEGY WITH CO-COUNSEL
             (.1). CONFERENCE CALL WITH COMMITTEE
             PROFESSIONALS RE PPP STRATEGY (.9).

07/28/20 PRH CORRESPONDENCE WITH CO-COUNSEL RE PPP STRATEGY              1,60     648.00
             (.2). E-MAIL TO COURT REGARDING VIRTUAL
             ATTENDANCE AT HEARING ON SAME (.1). ATTEND
             CONFERENCE CALL WITH J. LUCAS, M. BRANDESS AND
             E. VANDESTEEG REGARDING PPP STRATEGY (.8).
             PHONE CALL WITH E. VONEITZEN RE LOCAL RULE
             GOVERNING BRIEFING (.2). RESEARCH RE
             CONSTRUCTIVE TRUST LAW IN SIXTH CIRCUIT (.3).

07/29/20 PRH ATTENTION TO BRIEF IN RESPONSE TO FSB                       3.20    1296.00
             RESERVATION OF RIGHTS RE PPP ISSUES (3.0).
             PHONE CALL RE SAME WITH M. BRANDESS (.2).

07/31/20 PRH REVIEW REVISED BRIEF RE PPP ISSUE (.4).                      .60     243.00
             RELATED CORRESPONDENCE (.2).




      TOTAL HOURS       14 .20          FOR SERVICES RENDERED     $             5730.00




                                        MATTER TOTAL              $             5730.00




                                                                                       *
  *                                 TIME AND FEE SUMMARY
  *         TIMEKEEPER                *    RATE   HOURS                FEES
 JUDITH G. MILLER                        495.00     .30           148.50
 PAUL R. HAGE                            405.00   13.10          5305 .50
 ERIC D. NOVETSKY                        345.00      .80          276.00
                                 TOTALS           14 .20         5730 .00
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    Official Committee of Unsecured Creditors of Barfly Ventures
  • ASSET DISPOSITION




 DATE       ATTY    SERVICE DESCRIPTION                           HOURS

07/01/20 PRH REVIEW DRAFT OF SALE PROCEDURES MOTION.                   1.20     486.00

07/02/20 JGM REVIEW RULES REGARDING NOTICING OF SALES AND               .30      148.50
             ADVISE MICHEAL BRANDESS OF SAME.

07/03/20 JGM ADDRESS EMAIL FROM MICHAEL BRANDESS ABOUT                  .30      148.50
             STATUS OF BIDDING PROCEDURES AND SALE MOTION
             AND ACTION TO BE TAKEN BY DEBTORS.

07/05/20 PRH REVIEW REVISED DRAFT BID PROCEDURES (.3).                  .40      162.00
             RELATED CORRESPONDENCE WITH M. BRANDESS (.1).

3 7 / 0 9 / 2 0 PRH REVIEW SALE PROCEDURES MOTION AND RELATED           .50      202.50
                FILINGS.

)7/10/2 0 JGM REVIEW ADDRESS AND CONSIDER EMAILS ON SALE AND             30      148,50
              MASTODON RETENTION.

)7/12/20 PRH REVIEW SALE PROCEDURES MOTION, ASSET PURCHASE             4.10     1660.50
             AGREEMENT AND PROPOSED SALE ORDER (3.5).
             PREPARE E-MAIL OF ISSUES TO COMMITTEE
             PROFESSIONALS (.6).

17/13/2 0   JGM REVIEW AND CONSIDER INTERNAL EMAILS IN                  .50      247.50
                CONNECTION WITH PROPOSED APA AND ADDRESS SAME
                WITH MR. HAGE.

 7/13/20 PRH CORRESPONDENCE WITH M. BRANDESS REGARDING SALE             .30      121,50
             OBJECTIONS (.2). CORRESPONDENCE WITH COURT
             REGARDING APPEARANCE AT HEARING RE ZOOM (.1).
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07/14/20 PRH PREPARE STIPULATION AND ORDER EXTENDING                1,20     486.00
             DEADLINE TO RESPOND TO SALE MOTION (.8).
             RELATED CORRESPONDENCE WITH CO-COUNSEL AND
             COUNSEL FOR DEBTORS (.2). PHONE CALL WITH M.
             BRANDESS RE SALE OBJECTION STRATEGY (.2).

07/15/20 PRH CORRESPONDENCE WITH DEBTORS COUNSEL AND M.              .80     324.00
             BRANDESS RE STIPULATION TO EXTEND DEADLINE FOR
             COMMITTEE TO RESPOND TO SALE PROCEDURES MOTION
             ( . 4 ) . FINALIZE AND FILE SAME (.2). PHONE CALL
             WITH M. BRANDESS REGARDING SALE RELATED
             NEGOTIATIONS WITH SECURED CREDITORS (.2).

07/16/20 PRH REVIEW FSB RESERVATION OF RIGHTS RE SALE (.2).          .40     162.00
             CORRESPONDENCE WITH CO-COUNSEL RE SALE ISSUES
             (.1). REVIEW DRAFT OF COMMITTEE RESERVATION OF
             RIGHTS (.1).

07/17/2 0 JGM REVIEW AND ADDRESS RESERVATION OF RIGHTS AND          1.00     495.00
              EMAILS IN CONNECTION THEREWITH.

07/17/2 0 JGM PARTICIPATE IN CONFERENCE CALL WITH                    .50     247.50
              PROFESSIONAL TEAM ABOUT THE RESERVATION OF
              RIGHTS AND OTHER ISSUES ASSOCIATED WITH SALE
              PROCESS.

07/17/20 PRH REVIEW DRAFT RESERVATION OF RIGHTS AND PREPARE         3.70     1498.50
             REDLINE WITH PROPOSED EDITS (1.5). REVIEW AND
             INCORPORATE EDITS RE RESERVATION OF RIGHTS FROM
             OTHER COMMITTEE PROFESSIONALS (.3). REVIEW
             MARK-UP OF COMMITTEE APPROVED APA (1.3).
             DISCUSS SALE ISSUES WITH M. BRANDESS (.5).
             ATTEND TO SERVICE OF SAME (.1) .

37/18/20 PRH REVIEW UST OBJECTION TO SALE MOTION (.2) AND            .40      162.00
             AMENDED PROPOSED BID PROCEDURES ORDER (.2).

57/19/2 0 PRH CORRESPONDENCE WITH M. BRANDESS AND E.                 .20       81.00
              VANDESTEEG REGARDING HEARING ON SALE PROCEDURES
              MOTION.
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07/20/20 PRH CONFERENCE CALL WITH E. VANDESTEEG IN                 2.80    1134.00
             PREPARATION FOR SALE PROCEDURES HEARING (.4).
             ATTEND SALE PROCEDURES HEARING (.9). FOLLOW UP
             CALL WITH E. VANDESTEEG AND M. BRANDESS (.5),
             REVIEW REVISED APA AND SALE PROCEDURES ORDER
             DRAFTS (.7). PHONE CALL FROM R. WARDROPP RE
             INTEREST IN ACQUIRING ASSETS (,3).

07/21/20 PRH CORRESPONDENCE WITH M. BRANDESS AND R. WARDROPP       .90      364.50
             RE LANDLORD GROUP REPORTEDLY INTERESTED IN
             ACQUIRING ASSETS (.4). CORRESPONDENCE WITH
             ESTATE PROFESSIONALS RE SALE PROCEDURES ORDER
             (.1). REVIEW MASTODON CIM (.4).

07/22/20 PRH REVIEW ENTERED SALE PROCEDURES ORDER AND              .40      162.00
             CALENDAR ASSOCIATED DEADLINES.

0 7/24/20 PRH ATTEND CALL WITH INVESTMENT BANKER RE STATUS OF       .60     243.00
              SALE PROCESS (.5). FOLLOW UP DISCUSSION WITH
              M. BRANDESS (.1).

07/2 8/20 JGM REVIEW EMAILS FROM SHELDON STONE AND MICHAEL          .30     148.50
              BRANDESS ABOUT DATA ROOM AND SALE.

07/2 9/2 0 PRH PHONE CALL WITH M. BRANDESS RE STATUS OF SALE        .20       81 . 00
               PROCESS, DISCUSSION WITH SECURED LENDERS.




   TOTAL HOURS        21.30        FOR SERVICES RENDERED       $          8914.50




                                   MATTER TOTAL                $          8914.50
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 *
                             TIME AND FEE SUMMARY                               *
 *          TIMEKEEPER         *    RATE   HOURS                  FEES
 JUDITH G. MILLER                 495.00    3.20             1584.00
 PAUL R. HAGE                     405.00   18 .10            7330.50
                          TOTALS           21. 30            8914.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    CASE ADMINISTRATION
**OPEN FOR TIME ONLY**


  DATE   ATTY     SERVICE DESCRIPTION                          HOURS

07/01/2 0 PRH CONFERENCE CALL WITH M. BRANDESS RE VARIOUS            1.50     607.50
              ISSUES IN CASE (.4). ATTEND TO CALENDAR OF
              DEADLINES IN CASE (.7). CONSIDER ISSUES
              RELATED TO NEED FOR LIMITED SERVICE LIST (.4).

07/01/2 0 MEC REVIEW AND ANALYSIS OF DOCKET AND ENTERED              1.20     282.00
              ORDERS ENTERED TO IDENTIFY DEADLINES FOR
              DOCKETING AND INSTRUCTIONS FOR SAME (1.2).

07/08/20 PRH DISCUSS CLAIMS BAR DATE, SALE AND PLAN RELATED           .70     283.50
             ISSUES WITH M. BRANDESS ( . 6 ) . REVIEW NOTICE RE
             341 MEETING AND RELATED CORRESPONDENCE WITH L.
             VANDESTEEG (.1).

)7/20/2 0 PRH PHONE CALL WITH L. VANDESTEEG REGARDING VARIOUS         .30     121.50
              ISSUES IN CASE.

)7/24/2 0 JGM REVIEW EMAIL FROM MICHAEL BRANDESS ABOUT                .20      99 .00
              RECENTLY FILED PLEADINGS AND STATUS OF CASE.

17/24/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS AND                .30     121.50
             PROFESSIONALS RE VARIOUS ISSUES IN CASE.




    TOTAL HOURS        4.20        FOR SERVICES RENDERED       $            1515.00




                                   MATTER TOTAL                $            1515.00
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 *
                             TIME AND FEE SUMMARY                                *
 *
            TIMEKEEPER         •    RATE   HOURS                   FEES
 JUDITH G. MILLER                 495.00     .20             9 9 . 00
 PAUL R. HAGE                     405,00    2.80           1134.00
 MAUREEN E, CHAPMAN               235.00    1.20            282.00
                          TOTALS            4.20           1515.00
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    Official Committee of Unsecured Creditors of Barfly
                                                        Ventures
    CLAIMS
**OPEN FOR TIME ONLY**


  DATE   ATTY    SERVICE DESCRIPTION                              HOURS
07/07/20 PRH REVIEW PACA CLAIMS ANALYSIS AND RELATED
                                                                    .20        81. 00
             CORRESPONDENCE WITH COMMITTEE PROFESSIONALS.

07/10/20 PRH REVIEW SCHEDULES AND SOFAS FILED BY DEBTOR
                                                        S.         1.30       526.50
07/15/20 PRH CORRESPONDENCE TO DEBTORS' COUNSEL RE STATUS
                                                          OF        .10        40 .50
             BAR DATE MOTION.

07/16/20 PRH CORRESPONDENCE WITH CO-COUNSEL AND COUNSE
                                                       L FOR        .30       121.50
             DEBTORS RE BAR DATE MOTION.

07/19/20 PRH ATTENTION TO DRAFT BAR DATE MOTION AND
                                                    RELATED        3.90      1579.50
             EXHIBITS (3.8). RELATED CORRESPONDENCE WITH M.
             BRANDESS AND E. VANDESTEEG (.1).

0 7/20/20 PRH CORRESPONDENCE WITH M. BRANDESS AND R.
                                                     GIUNTA         .40       162.00
              REGARDING BAR DATE RELATED FILINGS.

07/23/20 PRH REVIEW FILED CLAIMS BAR DATE MOTION.
                                                                    .40       162.00
07/28/20 PRH REVIEW AMENDED SCHEDULES FOR HOPCAT DETROI
                                                        T.          . 10       40 . 50



   TOTAL HOURS         6 .70      FOR SERVICES RENDERED       $            2713.50



                                  MATTER TOTAL                $            2713.50
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 *
                             TIME AND FEE SUMMARY                               *
 *
            TIMEKEEPER         *    RATE   HOURS                  FEES
 PAUL R. HAGE                     405.00    6.70             2713.50
                          TOTALS            6.70             2713.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    COMMITTEE COMMUNICATIONS
*•OPEN FOR TIME ONLY**


  DATE   ATTY    SERVICE DESCRIPTION                          HOURS

07/01/20 PRH CORRESPONDENCE WITH COMMITTEE AND PROFESSIONALS      .40      162.00
             REGARDING STATUS OF CASE (.3). REVIEW AGENDA
             FOR COMMITTEE CALL (.1).

07/02/20 JGM REVIEW AGENDA IN PREPARATION FOR THE COMMITTEE       .70      346.50
             CALL (.20), PARTICIPATE IN THE COMMITTEE
             MEETING ( . 50) .

07/02/20 PRH ATTEND COMMITTEE CONFERENCE CALL.                    .50      202.50

07/06/20 PRH CORRESPONDENCE TO COMMITTEE MEMBERS RE               .50      202,50
             PROFESSIONAL FEE APPLICATIONS.

07/07/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE             .80      324,00
             RETENTION APPLICATIONS, MASTODON ISSUES.

37/08/20 PRH CORRESPONDENCE RE COMMITTEE CONFERENCE CALL,         . 10      40 . 50

37/0 9/2 0 PRH REVIEW CORRESPONDENCE TO COMMITTEE MEMBERS         ,80      324,00
               ( .1) . ATTEND COMMITTEE CALL (.7) .

37/10/2 0 PRH REVIEW CORRESPONDENCE WITH COMMITTEE MEMBERS        .20       81.00
              REGARDING DEBTORS' SCHEDULES AND SOFAS.

)7/13/2 0 PRH REVIEW CORRESPONDENCE WITH COMMITTEE MEMBERS        ,50      202.50
              REGARDING OBJECTIONS TO APA, SALE PROCESS.

)7/l4/20 PRH REVIEW CORRESPONDENCE TO COMMITTEE MEMBERS IN        .60      243.00
             ADVANCE OF WEEKLY CALL (.1). ATTEND WEEKLY
             COMMITTEE CALL (.5).
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07/15/2 0 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE                .20       81.00
              VARIOUS MATTERS.

07/16/2 0 PRH ATTEND CONFERENCE CALL WITH COMMITTEE                   .80      324.00
              PROFESSIONALS REGARDING STRATEGY (.6).
              CORRESPONDENCE WITH COMMITTEE MEMBERS RE CASE
              STRATEGY (.2).

07/17/2 0 PRH ATTEND CONFERENCE CALL WITH COMMITTEE                   ,40      162.00
              PROFESSIONALS RE VARIOUS OPEN ISSUES.

07/18/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE STATUS          . 10     40 . 50
             OF CASE.

07/21/20 JGM REVIEW AGENDA AND EMAILS IN PREPARATION FOR             1.50      742.50
             COMMITTEE MEETING (.50), ATTEND COMMITTEE
             MEETING (1.0).

07/21/20 PRH REVIEW AGENDA FOR COMMITTEE CALL AND RELATED             .90      364.50
             CORRESPONDENCE (.2). ATTEND COMMITTEE
             CONFERENCE CALL (.7).

07/22/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE STATUS          .10       40 .50
             OF CASE.

07/2 8/2 0 PRH REVIEW AGENDA AND RELATED DOCUMENTS IN                 .80      324.00
               PREPARATION FOR COMMITTEE CALL (.2). ATTEND
               CALL (.6).




   TOTAL HOURS         9.90       FOR SERVICES RENDERED        $             4207.50




                                  MATTER TOTAL                 $             4207.50
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 *
                             TIME AND FEE SUMMARY                                *
 *
            TIMEKEEPER         *    RATE   HOURS                   FEES
 JUDITH G, MILLER                 495.00    2. 2 0            1089.00
 PAUL R. HAGE                     405.00    7 .70             3118.50
                          TOTALS            9, 90             4207.50
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    Official Committee of Unsecured Creditors
                                              of Barfly Ventures
    DISBURSEMENTS
**OPEN FOR COST ONLY * *




              it************** DISBURSEMENTS **********
                                                        ******
         TELEPHONE CHARGES CC
06/30/20 PACER CHARGES NET CHARGES                                     11.14
07/01/20 COPY EXPENSE # 2                                               4.40
                                                                        0 . 75


                                     TOTAL DISBURSEMENTS     $          16 .29


                                  MATTER TOTAL               $          16.29
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    Official Committee of Unsecured Creditors
                                              of Barfly Ventures
    EMPLOYMENT APPLICATIONS
**OPEN FOR TIME ONLY**


  DATE   ATTY     SERVICE DESCRIPTION
                                                                HOURS
07/01/20 JGM ADDRESS ENGAGEMENT LETTER
                                        AND RETENTION            1,20      594.00
             APPLICATIONS AND REVISIONS THERETO TO
                                                    ADDRESS
             REQUEST FOR A RETAINER (.40), ADDRESS
                                                    AND
             CONSIDER THE MANNER IN WHICH THE RETAINER
                                                         WILL
             BE HELD AND APPLIED (.30), ADDRESS LOCA
                                                     L RULE
             2 014 GOVERNING FILING AND SERVICE OF RETE
                                                        NTION
             APPLICATIONS AND TIME TO OBJECT THERETO
                                                      (.20),
             REVIEW AND RESPOND TO EMAILS FROM MICH
                                                    AEL
             BRANDESS ABOUT SAME (.30).

07/01/20 PRH VARIOUS CORRESPONDENCE WITH
                                         JAFFE AND SUGAR         1.70     688.50
             FELSENTHAL TEAM RE RETENTION AND RETENTIO
                                                       N
             APPLICATION ISSUES (1.1), REVIEW CONSOLID
                                                        ATED
             CREDITOR MATRIX (.1). REVISE AND CIRC
                                                   ULATE
             ENGAGEMENT LETTER (.3). DISCUSS RETAINER
             ISSUES WITH J. MILLER (.2).

37/01/20 MEC PREPARE DRAFT OF APPLICATION
                                          TO RETAIN AMHERST      2.30     540.50
             PARTNERS AND PROPOSED ORDER FOR SAME.

)7/01/20 MEC PREPARE DRAFT OF APPLICATION
                                           FOR EMPLOYMENT OF     2,30     540,50
             SUGAR FELSENTHAL GRAIS 5c HELSINGER AND
                                                     PROPOSED
             ORDER FOR SAME.

)7/01/20 MEC RECEIPT, REVIEW AND RESPOND
                                          TO MULTIPLE EMAIL     2.40      564.00
             MESSAGES W/ J, MILLER AND P. HAGE REGA
                                                    RDING
             EMPLOYMENT APPLICATIONS (.6) REVIEW OF
                                                     PROPOSED
      •      ENGAGEMENT LETTER AND REVISIONS TO DRAF
                                                     T OF
             PROPOSED ORDER (.4). REVISIONS TO DRAF
                                                    T OF
             JAFFE'S EMPLOYMENT APPLICATION (.8). REVI
                                                       SIONS
             TO JAFFE1S DECLARATION (.6).
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07/02/2 0 JGM ADDRESS EMAILS REGARDING FINALIZING EMPLOYMENT         .30     148.50
              APPLICATIONS AND RETENTION LETTER.

07/02/20 PRH ATTENTION TO RETENTION APPLICATIONS (1,6).             1.80     729,00
             RELATED CORRESPONDENCE WITH COMMITTEE
             PROFESSIONALS (.2).

07/02/20 MEC PREPARE DRAFT OF DECLARATION RE AMHERST                2.80     658.00
             PARTNERS (.8). PREPARE DRAFT OF DECLARATION RE
             SFGH (.8). COMMUNICATIONS W/ P. HAGE RE SERVICE
             ISSUES AND CONFLICT CHECKS (.4), FINALIZE
             EXHIBIT TO JAFFE DECLARATION (.8)

07/03/20 JGM ADDRESS EMAILS ABOUT REVISIONS NEEDED TO                .30     14 8.5 0
             ENGAGEMENT LETTERS AND FINALIZING SAME FOR
             FILING.

07/04/20 PRH ATTEND TO EDITS TO ENGAGEMENT LETTER, RETENTION         .30     121.50
             APPLICATIONS.

07/06/2 0 JGM ADDRESS EMAIL FROM LISA VANDESTEEG ABOUT               .90     445,50
              FINALIZING AND FILING RETENTION APPLICATIONS
              ( .10) FOLLOW UP CALL WITH LISA ABOUT SAME
              ( .20) CONFIRMATORY EMAIL TO LISA ABOUT ACTION
              TO BE TAKEN (.20), ADDRESS STATUS OF CONFLICT
              CHECK WITH SHELDON STONE (.10), REVIEW TIME FOR
              PREPARATION OF MONTHLY FEE STATEMENT (.30) .

07/06/20 PRH CORRESPONDENCE WITH J. MILLER AND SUGAR                1.50     607.50
             FELSENTAL RE RETENTION APPLICATION ISSUES (.2).
             REVISE RETENTION DOCUMENTS (.6). REVIEW DEMAND
             LETTER RE MASTODON RETENTION AND RELATED
             CORRESPONDENCE WITH COMMITTEE AND PROFESSIONALS
             ( .7) .

n/07/2 0 PRH FINALIZE RETENTION APPLICATIONS FOR COMMITTEE          2.20     891.00
             PROFESSIONALS (1.4). PHONE CALL AND
             CORRESPONDENCE WITH M. MAGGIO RE SAME (.2).
             CONSIDER NEED FOR SUPPLEMENTAL DECLARATION RE
             COMMITTEE CONNECTIONS (.6)
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07/08/20 PRH ADDRESS DECLARATION OF DISINTERESTEDNESS
                                                      ISSUES     2.50    1012.50
             WITH COMMITTEE PROFESSIONALS (1.1).
             CORRESPONDENCE WITH M. BRANDESS RE RETAINER
             ISSUES (,1) AND PHONE CALLS TO M. MAGGIO RE
             SAME (.3). ATTENTION TO CONFLICT CHECK ISSUES
             (1.0).

07/09/20 PRH CORRESPONDENCE WITH M. BRANDESS RE SFGH
                                                                  .70     283.50
             SUPPLEMENTAL DECLARATION AND CONFLICT CHECK
             (.2) . ATTEND TO SUPPLEMENTAL DISCLOSURES (.5).

07/21/20 PRH ATTEND TO SUPPLEMENTAL DECLARATIONS FOR
                                                     SFGH,       2.00     810.00
             JAFFE AND AMHERST.

07/21/20 MEC REVIEW OF SUPPLEMENTAL DECLARATION AND
                                                                  .30      70. 50
             COMMUNICATIONS W/ P. HAGE RE FORMAT AND CONTENT
             OF SAME.

07/22/20 JGM REVIEW SUPPLEMENTAL DECLARATIONS.
                                                                  .30     148.50
07/22/20 PRH CORRESPONDENCE WITH COMMITTEE PROFESSIONAL
                                                        S RE     1.00     405.00
             SUPPLEMENTAL DECLARATIONS (.2). FINALIZE SAME
             (.7). SEND FILED DECLARATIONS TO M. MAGGIO
            (.1) .



   TOTAL HOURS        26 . 80     FOR SERVICES RENDERED      $          9407.00




                                  MATTER TOTAL               $          9407.00
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BARFLY VENTURES, ET AL, OFFICIAL COMMITTEE OF UN
                                                     Aug 11, 2020       PAGE       21
CLIENT NUMBER: UCCBAR
INVOICE NO.: 464376

 *
                             TIME AND FEE SUMMARY
 •          TIMEKEEPER         *
                                                                               *
                                    RATE   HOURS                 FEES
 JUDITH G. MILLER                 495.00    3 . 00          1485.00
 PAUL R. HAGE                     405.00   13.70            5548.50
 MAUREEN E. CHAPMAN               235.00   10 . 10          2373.50
                          TOTALS           26.80            9407.00
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BARPLY VENTURES, ET AL, OFFICIAL COMMITTEE
                                           OF UN    Aug 11, 2020            PAGE     22
CLIENT NUMBER: UCCBAR
INVOICE NO,: 464376




    Official Committee of Unsecured Creditors
                                              of Barfly Ventures
    EMPLOYMENT OBJECTIONS
**OPEN FOR TIME ONLY**



  DATE   ATTY    SERVICE DESCRIPTION
                                                                   HOURS
07/06/20 JGM ADDRESS EMAILS FROM SUGAR FELSE
                                             NTHAL AND               .60     297.00
             AMHERST REGARDING ISSUES RELATING TO MASTO
                                                        DON
             EMPLOYMENT APPLICATION AND OBJECTIONS THERE
                                                          TO
             (.30), REVIEW FINAL DRAFT LETTER DELINEATIN
                                                          G
             OBJECTIONS TO MASTODON RETENTION AND COMME
                                                        NTS
             OF AMHERST THERETO, AND PROVIDE COMMENTS
                                                       TO
             MICHAL BRANDRESS (.30),

)7/08/20 PRH PHONE CALL WITH M. MAGGIO (.4)
                                            AND M. BRANDESS          .80     324.00
             (.4) RE MASTODON RETENTION ISSUES.

>7/21/20 PRH REVIEW RESERVATION OF RIGHTS
                                          FIELD BY FSB               .20      81.00
             REGARDING COMMITTEE PROFESSIONAL RETENTION
             APPLICATIONS (.1). RELATED CORRESPONDENCE
                                                        WITH
             COMMITTEE PROFESSIONALS (.1).




   TOTAL HOURS        1.60        FOR SERVICES RENDERED        $            702.00



                                  MATTER TOTAL                 $            702.00
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BARFLY VENTURES, ET AL, OFFICIAL COMMITTEE OF UN   Aug 11, 2020       PAGE       23
CLIENT NUMBER: UCCBAR
INVOICE NO.: 464376

 *
                             TIME AND FEE SUMMARY                            *
 *
            TIMEKEEPER         *
                                    RATE   HOURS               FEES
 JUDITH G. MILLER                 495 . 00   .60           297.00
 PAUL R, HAGE                     405.00    1.00           405.00
                          TOTALS            1.60           702.00
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BARFLY VENTURES, ET AL, OFFICIAL
                                 COMMITTEE OF UN     Aug 11 I 2020
CLIENT NUMBER: UCCBAR                                                       PAGE    24
INVOICE NO.: 464376




    Official Committee of Unsecure
                                   d Creditors of Barfly Ventures
    EXECUTORY CONTRACTS
**OPEN FOR TIME ONLY**



    DATE   ATTY    SERVICE DESCRIPTION
                                                                  HOURS
)7/24/20 PRH REVIEW DEBTORS
                             NOTICE RE EXECUTORY CONTRACT
                                                          S          .40     162,00
             AND LEASES AND MOTION TO REJE
                                           CT VARIOUS
             CONTRACTS.




     TOTAL HOURS        0.40       FOR SERVICES RENDERED      $             162.00



                                   MATTER TOTAL               $            162.00




 *
                              TIME AND FEE SUMMARY                             *
*
           TIMEKEEPER           *    RATE   HOURS                  FEES
PAUL R, HAGE
                                   405 . 00   .40             162.00
                           TOTALS             .40             162 .00
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BARFLY VENTURES, ET AL, OFFICIAL COMMI
                                       TTEE OF UN       Aug 11, 2020         PAGE
CLIENT NUMBER: UCCBAR                                                               25
INVOICE NO.: 464376




       Official Committee of Unsecured Creditors
                                                 of Barfly Ventures
       FEE APPLICATIONS / OBJECTIONS
    *OPEN FOR TIME ONLY**


     DATE   ATTY    SERVICE DESCRIPTION
                                                                  HOURS
    7/08/20 PRH REVIEW LOCAL RULES AND FORMS
                                             TO DETERMINE IF           .70     283.50
                THERE IS A LOCAL FORM TO FOLLOW FOR PREPA
                                                          RATION
                OF MONTHLY FEE STATEMENTS AND APPLICATIO
                                                         NS
                (.5), FOLLOW UP CORRESPONDENCE WITH M.
                                                       BRANDESS
               (.2) .

7/09/20 PRH REVIEW TIME ENTRIES FOR PURPO
                                          SES OF PREPARATION           ,60    243,00
            OF MONTHLY FEE STATEMENT (.4). CORRE
                                                     SPONDENCE
            WITH CO-COUNSEL REGARDING SAME ( . 2 ) ,

7/10/20 PRH CORRESPONDENCE WITH M. BRAND
                                         ESS REGARDING                 .20     81. 00
            MONTHLY FEE STATEMENTS.

7/13/20 JGM ADDRESS EMAILS IN CONNECTION
                                         WITH FILING                .20        99 . 00
            MONTHLY FEE STATEMENTS T

7/14/20 PRH CORRESPONDENCE RE INVOICES
                                       FOR MONTHLY FEE              .30       121.50
            STATEMENT.

/
    /15/20 PRH CORRESPONDENCE AND CALL WITH
                                            M. BRANDESS RE          .30       121.50
               MONTHLY FEE STATEMENTS.

717/20 PRH FINALIZE, FILE AND SERVE MONTH
                                          LY FEE STATEMENTS        1.00       405.00
           (.8). CORRESPONDENCE WITH J. MORDEN
                                                 AND S.
           STONE RE NECESSARY REVISIONS TO AMHERST
                                                    FEE
           STATEMENTS (.2).

/18/20 PRH PHONE CALL WITH M. BRANDESS
                                       RE INTERIM FEE               .30       121,50
           STATEMENT (.2). FOLLOW UP CORRESPONDENCE
                                                     WITH
           J. LUCAS (.1).
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BARFLY VENTURES, ET AL, OFFICIAL COMMITTEE OF UN         Aug 11, 2020          PAGE   26
CLIENT NUMBER: UCCBAR
INVOICE NO.: 464376

07/20/20 PRH REVIEW CORRESPONDENCE FROM R, GOLD AND J. LUCAS           2.90    1174.50
             REGARDING RETAINER ISSUE (.1). DISCUSS SAME
             WITH E. VANDESTEEG AND M. BRANDESS (.2).
             CORRESPONDENCE WITH S. STONE RE AMHERST FEE
             STATEMENT (.1). ATTEND TO CONFLICT REVIEW AND
             SUPPLEMENTAL DECLARATIONS RE RETENTION
             APPLICATIONS (2.5).

07/23/20 PRH REVIEW FEE STATEMENTS FILED BY DEBTOR                      .30     121.50
             PROFESSIONALS AND RELATED CORRESPONDENCE WITH
             M. BRANDESS.

37/24/20 PRH REVIEW OBJECTIONS TO FEE STATEMENTS FILED BY               .90      364,50
             FSB (.1). CORRESPONDENCE RE REQUEST FROM COURT
             TO SCHEDULE HEARING ON SAME (.2). PHONE CALL
             WITH M. MAGGIO RE RETENTION APPLICATION ISSUES
              (.6) .

>7/27/20 PRH REVIEW AMENDED ROCK CREEK FEE STATEMENT.                   . 10     40.50

 7/29/20 PRH REVIEW FSB OBJECTION TO PROFESSIONAL FEES OF               .30      121.50
             DEBTORS (.2). CORRESPONDENCE WITH COURT RE
             HEARING ON OBJECTIONS TO COMMITTEE APPLICATIONS
              (.1).




      TOTAL HOURS          8 .10         FOR SERVICES RENDERED    $            3298.50




                                         MATTER TOTAL              $           3298.50




  *                                   TIME AND FEE SUMMARY                            *

  *          TIMEKEEPER                 *    RATE   HOURS              FEES
  JUDITH G. MILLER                         495 . 00    .20          99.00
  PAUL R. HAGE                             405.00    7.90         3199.50
                                   TOTALS            8 .10        3298.50
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                          Exhibit C
                (August Monthly Fee Statement)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                         Chapter 11
    BARFLY VENTURES, LLC, et. al, i                      Case No. 20-01947-jwb

             Debtors.                                    (Jointly Administered)



          MONTHLY FEE STATEMENT OF JAFFE RAITT HEUER & WEISS, P.C.
        FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
          EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                         CREDITORS FOR AUGUST 2020


    Name of Applicant:                           Jaffe Raitt Heuer & Weiss, P.C.

    Authorized to provide services to:           Official Committee of Unsecured Creditors

    Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:     August 2020

    Amount of compensation sought as actual,     $17,235.00
    reasonable, and necessary:                   80% = $13,788.00
                                                 20% = $3,447.00

    Amount of expense reimbursement sought:      $0

    Total interim request:                       $13,788.00




1The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



4958846.vl
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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By.    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     Phone: (248) 351-3000
                                     phage@i affelaw.com

                                     -and-

                                     SUGARFELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     Phone: (312) 704-9400
                                     mbradness@,sfgh .com
                                     evandesteeg@sfgh.com

                                     Counsel to the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC et al.

Dated: September 14, 2020.
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                                                  laffe
                                                    JAFFE RAITT HEUER & WEISS
                                                       A Pmjhviwtit Ctir/mru/inn
                                                      A Homey/; it; Cott/iseloiv

                    27777 FRANKLIN ROAD, SUITE 2500 • P.O. BOX 5034 • SOUTHFIELD, MICHIGAN 48086-5034
                                         PHONE 248.351.3000 • FAX 248.351.3082
                                                    www.jaffelaw.com




   Official Committee of Unsecured Creditors of BaSeptember 4 2020
   c/o Gordon Food Service, Inc.
   Sharon Murphy   Director of Credit
   1300 Gezon Parkway SW
   Wyoming, MI 49509-9300                         Invoice No. 465559




FOR LEGAL SERVICES RENDERED THROUGH AUGUST 31                           2020
AS ITEMIZED ON THE ATTACHED REPORT:


ASSET ANALYSIS

                                                     Total Fees                       $8,041.50
                                                     Total Costs                             $0 .00

                                                     Subtotal                         $8,041.50
ASSET DISPOSITION

                                                     Total Fees                       $1,944.00
                                                     Total Costs                             $0 . 00

                                                     Subtotal                         $1,944.00
CASE ADMINISTRATION

                                                     Total Fees                       $1,660.50
                                                     Total Costs                             $0 . 00

                                                     Subtotal                         $1,660.50
CLAIMS

                                                     Total Fees                            $40.50
                                                     Total Costs                             $0 .00

                                                     Subtotal                              $40.50
COMMITTEE COMMUNICATIONS

                                                      Total Fees                       $1,539.00
                                                      Total Costs                            $0 .00

                                                      Subtotal                         $1,539 . 00
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CLIENT NUMBER: UCCBAR
INVOICE NO.: 465559

     EMPLOYMENT APPLICATIONS

                                             Total Fees              $526.50
                                             Total Costs                $0 . 00

                                             Subtotal                $526.50
     EMPLOYMENT OBJECTIONS

                                             Total Fees              $243 . 00
                                             Total Costs                $0.00

                                             Subtotal                $243.00
     EXECUTORY CONTRACTS

                                             Total Fees             $1,579.50
                                             Total Costs                $0 . 00

                                             Subtotal               $1,579.50
    FEE APPLICATIONS / OBJECTIONS

                                             Total Fees             $1,660.50
                                             Total Costs                $0.00

                                             Subtotal               $1,660.50



                               TOTAL FEES THIS INVOICE      $       17,235.00

                               TOTAL AMOUNT DUE              $      17,235.00




     FED. TAX I.D. XX-XXXXXXX     TERMS:   NET 30 DAYS

    {Jl}
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BARFLY VENTURES, ET AL, OFFICIAL COMMITTEE OF UN    Sep   4, 2020           PAGE   3
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    Official Committee of Unsecured Creditors of Barfly Ventures
    ASSET ANALYSIS
**OPEN FOR TIME ONLY**


 DATE    ATTY   SERVICE DESCRIPTION                            HOURS

08/03/20 PRH PHONE CALL WITH E. NOVETSKY RE PPP ISSUES AND          2.60     1053.00
             RELATED CORRESPONDENCE (.4). PHONE CALLS WITH
             M. BRANDESS REGARDING PPP BRIEF STRATEGY (.6).
             REVIEW DEBTORS' BRIEF (.5). FINALIZE AND FILE
             COMMITTEE BRIEF (1.1).

08/03/20 EDN RSCH RE (0.8) AND REVIEW AND REVISE BRIEF RE           2.30      793.50
             PPP PROCEEDS (1.5)

08/05/20 PRH REVIEW FSB BRIEF RE PPP ISSUE (.6). DISCUSS            2.80     1134.00
             SAME WITH M. BRANDESS (.3). REVIEW AND PROPOSE
             REVISIONS TO OUTLINE FOR ORAL ARGUMENT (.8).
             CONFERENCE CALL WITH ESTATE PROFESSIONALS IN
             PREPARATION FOR HEARING ON PPP ISSUES (.9).
             CORRESPONDENCE IN PREPARATION FOR HEARING (.2).

08/06/20 PRH ATTEND HEARING RE PPP PROCEED ISSUE.                   2.00      810.00

08/07/20 PRH ATTEND CONTINUED HEARING RE PPP FUNDS (.8).            1.80      729.00
             FOLLOW UP CALLS AND CORRESPONDENCE WITH
             COMMITTEE PROFESSIONALS (.4). ATTEND
             CONFERENCE CALL WITH J. LUCAS AND M. BRANDESS
             TO DISCUSS RULING, STRATEGY (.6).

08/10/20 PRH REVIEW ORDER OVERRULING FSB OBJECTIONS (.1).            .30      121.50
             REVIEW CASELAW DEALING WITH PPP ISSUES (.2).

08/11/20 PRH CORRESPONDENCE WITH M. BRANDESS REGARDING PPP           .30      121.50
             STRATEGY.

08/12/20 PRH CORRESPONDENCE WITH ESTATE PROFESSIONALS                . 10      40.50
             REGARDING PPP STRATEGY.

08/13/20 PRH CORRESPONDENCE RE PPP ISSUE.                            . 10      40.50
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INVOICE NO.: 465559

08/17/20 PRH REVIEW SELLERS PROMISSORY NOTE (.2).                    .60      243.00
             CORRESPONDENCE AND CALL WITH COMMITTEE COUNSEL
             RE SELLERS BANKRUPTCY STRATEGY (.4).

08/27/20 PRH PHONE CALL WITH M. BRANDESS REGARDING TRO BRIEF         1.00    405.00
             (.2). DISCUSS SAME WITH D. WILLIAMS AND LOCATE
             RELEVANT RESEARCH (.5). PHONE CALL AND
             CORRESPONDENCE WITH M. CHAPMAN RE OBTAINING
             HEARING TRANSCRIPT (.3).

08/28/20 PRH CORRESPONDENCE WITH M. CHAPMAN RE OBTAINING              .50     202.50
             TRANSCRIPT OF PPP HEARING (.2). REVIEW
             TRANSCRIPT FROM HEARING (.2). CORRESPONDENCE
             WITH M. BRANDESS RE BRIEF (.1).

08/28/20 MEC COMMUNCATIONS W/ P. HAGE RE TRANSCRIPT REQUEST          1.20     282.00
             (.3). PREPARE LOCAL FORM FOR TRANSCRIPT REQUEST
             (.4). TELEPHONE CALLS W/ COURT REPORTER RE
             TRANSCRIPT REQUEST ON RUSH BASIS (.4). RECEIPT
             AND REVIEW TRANSCRIPT (.1).

08/30/20 PRH RESEARCH REGARDING PPP ISSUES AND RELATED               1.30     526.50
             CORRESPONDENCE WITH J. LUCAS AND M. BRANDESS.

08/31/20 PRH REVIEW TRO MOTION AND MEMO REGARDING PPP FUNDS          3.10    1255.50
             (1.6). CONFERENCE CALL WITH COMMITTEE
             PROFESSIONALS RE STRATEGY (.7). REVIEW REVISED
             DRAFT OF TRO BRIEF AND RELATED CORRESPONDENCE
             WITH CO-COUNSEL ( . 8 ) .

08/31/20 PRH REVIEW SELLERS BANKRUPTCY SCHEDULES AND SOFA             .70     283.50
             AND PREPARE E-MAIL TO COMMITTEE MEMBERS RE
             SAME.



    TOTAL HOURS        20.70      FOR SERVICES RENDERED        $            8041.50



                                      MATTER TOTAL             $            8041.50
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  *
                             TIME AND FEE SUMMARY                                 *
  *          TIMEKEEPER        *    RATE   HOURS                      FEES
  PAUL R. HAGE                    405.00   17.20                 6966.00
  ERIC D. NOVETSKY                345.00    2.30                  793.50
  MAUREEN E. CHAPMAN              235.00    1.20                  282.00
                          TOTALS           20.70                 8041.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    ASSET DISPOSITION



  DATE   ATTY    SERVICE DESCRIPTION                               HOURS

08/11/20 PRH CORRESPONDENCE WITH M. BRANDESS RE ADEQUATE                .10       40 . 50
             ASSURANCE INFORMATION.

08/14/20 PRH REVIEW FILED SALE OBJECTION.                                .10      40. 50

08/18/20 PRH REVIEW CORRESPONDENCE AND MODELS FROM R. HERSCH            .30      121.50
             RE STATUS OF SALE PROCESS (.2). RELATED
             CORRESPONDENCE WITH COMMITTEE PROFESSIONALS
             (.1) .

08/19/20 PRH REVIEW LANDLORD SALE OBJECTION (.1).                       1.00     405.00
             CORRESPONDENCE AND CALL WITH M. BRANDESS AND E.
             VANDESTEEG RE SALE STRATEGY/ISSUES (.4).
             CONFERENCE CALL WITH MASTODON REGARDING STATUS
             OF SALE (.5).

08/20/20 PRH REVIEW SALE HEARING NOTICE (.1). CORRESPONDENCE             .20      81.00
             WITH CO-COUNSEL AND THE COURT RE SALE HEARING
             (.1) .

08/21/20 PRH REVIEW LENDER ADEQUATE ASSURANCE PACKAGE AND                .20      81.00
             RELATED CORRESPONDENCE WITH COMMITTEE
             PROFESSIONALS.

08/24/20 PRH PHONE CALL WITH H. SHER RE STATUS OF SALE                  1.80     729.00
             PROCESS (.4). REVIEW AND REVISE DRAFT
             STIPULATION EXTENDING SALE DEADLINES AND
             RELATED CORRESPONDENCE WITH E. VON EITZEN (.6)
             PHONE CALLS WITH M. MAGGIO AND M. BRANDESS RE
             OBJECTION DEADLINE FOR SALE (.3). VARIOUS
             CORRESPONDENCE RE SALE ADJOURNMENT STIPULATION
             AND ORDER (.5).
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08/25/20 PRH VARIOUS CORRESPONDENCE RE ADEQUATE                         .50      202.50
             ASSURANCE/SALE ISSUES AND STIPULATION (.3).
             REVIEW FSB SALE OBJECTION AND RELATED
             CORRESPONDENCE (.2).

08/26/20 PRH REVIEW FILED STIPULATION AND ORDER ADJOURNING              .50      202.50
             SALE HEARING (.2). REVIEW LANDLORD SALE
             OBJECTIONS (.3).

08/27/20 PRH CORRESPONDENCE WITH COMMITTEE PROFESSIONALS RE             . 10      40.50
             SALE HEARING, PROCESS.
                            /




      TOTAL HOURS         4.80        FOR SERVICES RENDERED      $             1944.00



                                        MATTER TOTAL             $             1944.00




  *                                TIME AND FEE SUMMARY                               *
  *          TIMEKEEPER              *    RATE   HOURS               FEES
  PAUL R. HAGE                          405.00    4.80          1944.00
                                TOTALS            4. 80         1944.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    CASE ADMINISTRATION
**OPEN FOR TIME ONLY**


  DATE   ATTY    SERVICE DESCRIPTION                             HOURS

08/13/20 PRH REVIEW MONTHLY OPERATING REPORT FILED BY                .20       81.00
             DEBTORS.

08/14/20 PRH REVIEW BANKRUPTCY DOCKET FOR M. SELLERS CHAPTER      1.40       567.00
             11 AND RELATED CORRESPONDENCE WITH COMMITTEE
             PROFESSIONALS (1.0). PHONE CALL WITH M.
             BRANDESS RE CASE STRATEGY (.4).

08/17/20 PRH PHONE CALL WITH M. BRANDESS AND J. LUCAS                .30     121.50
             REGARDING VARIOUS ISSUES IN CASE.

08/17/20 PRH CONFERENCE CALL WITH M. BRANDESS AND E.                 .60      243.00
         .   VANDESTEEG RE CASE STRATEGY.

08/18/20 PRH CORRESPONDENCE WITH M. BRANDESS AND E.                  .60      243.00
             VANDESTEEG RE SELLERS BANKRUPTCY (.1).     REVIEW
             DOCKET IN CASE (.2). PREPARE AND FILE
             APPEARANCES (.3).

08/19/20 PRH REVIEW FILINGS IN THE SELLERS BANKRUPTCY CASE           .40      162.00
             ( . 2 ) . PREPARE E-MAIL TO COMMITTEE MEMBERS RE
             SAME ( . 2 ) .

08/20/20 PRH REVIEW MOTION TO EXTEND DEADLINE TO FILE                . 10      40. 50
             SCHEDULES.

08/21/20 PRH REVIEW FILINGS IN BANKRUPTCY CASES.                     .30      121.50

08/24/20 PRH CORRESPONDENCE WITH ESTATE PROFESSIONALS RE             .20       81. 00
             STATUS OF VARIOUS OPEN MATTERS.
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       TOTAL HOURS         4 . 10      FOR SERVICES RENDERED   $        1660.50



                                       MATTER TOTAL            $        1660.50




  *                                TIME AND FEE SUMMARY                        *
  •k         TIMEKEEPER              *    RATE   HOURS              FEES
  PAUL R. HAGE                          405.00    4.10         1660.50
                                TOTALS            4.10         1660.50




                                                                                        I
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    Official Committee of Unsecured Creditors of Barfly Ventures
    CLAIMS
**OPEN FOR TIME ONLY**


  DATE    ATTY     SERVICE DESCRIPTION                              HOURS

08/13/20 PRH REVIEW CLAIMS BAR DATE ORDER ENTERED BY COURT             .10      40 . 50
             AND CALENDAR DEADLINES.



     TOTAL HOURS         0 .10      FOR SERVICES RENDERED       $              40.50



                                    MATTER TOTAL                $              40.50




 *                              TIME AND FEE SUMMARY                                *
 *          TIMEKEEPER            *    RATE   HOURS                 FEES
 PAUL R. HAGE                        405.00     . 10             40.50
                             TOTALS             . 10             40.50
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INVOICE NO.: 465559




    Official Committee of Unsecured Creditors of Barfly Ventures
    COMMITTEE COMMUNICATIONS
**OPEN FOR TIME ONLY**


 DATE    ATTY    SERVICE DESCRIPTION                           HOURS

08/04/20 PRH REVIEW DRAFT AGENDA AND RELATED CORRESPONDENCE      1.10        445.50
             PREPARATION FOR COMMITTEE CALL (.1). ATTEND
             COMMITTEE CONFERENCE CALL (.5). FOLLOW UP
             CORRESPONDENCE (.5).

08/05/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE STATUS         . 10     40.50
             OF CASE.

08/06/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE STATUS         . 10     40 . 50
             OF CASE.

08/07/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE PPP            . 10     40.50
             RULING.

08/11/20 PRH REVIEW AGENDA FOR, AND ATTEND, COMMITTEE                .70      283.50
             CONFERENCE CALL.

08/13/20 PRH REVIEW CORRESPONDENCE TO COMMITTEE RE CLAIMS            .30      121.50
             BAR DATE ORDER ( .1) . CORRESPONDENCE WITH
             COMMITTEE RE MONTHLY FEE STATEMENTS ( . 2 ) .

08/14/20 PRH CORRESPONDENCE TO COMMITTEE REGARDING SELLERS           .40      162.00
         '   BANKRUPTCY FILING.

08/18/20 PRH CORRESPONDENCE WITH COMMITTEE PROFESSIONALS RE          .60      243.00
             WEEKLY CALL (.1) . ATTEND WEEKLY COMMITTEE CALL
             (.5).

08/21/20 PRH REVIEW CORRESPONDENCE TO COMMITTEE RE STATUS OF         . 10      40. 50
             CASE.
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08/25/20 PRH CORRESPONDENCE WITH M. BRANDESS AND COMMITTEE              .20       81.00
             MEMBERS RE STATUS OF CASE AND ADJOURNING WEEKLY
             COMMITTEE CALL.

08/26/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE SALE              . 10     40.50
             RELATED ISSUES.



      TOTAL HOURS         3 .80         FOR SERVICES RENDERED    $             1539.00



                                        MATTER TOTAL             $             1539.00




  *                              TIME AND FEE SUMMARY                                 *
  *          TIMEKEEPER                 RATE   HOURS                 FEES
  PAUL R. HAGE                        405.00    3.80            1539.00
                              TOTALS            3 . 80          1539.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    EMPLOYMENT APPLICATIONS
**OPEN FOR TIME ONLY**


  DATE     ATTY     SERVICE DESCRIPTION                                HOURS

08/05/20 PRH REVIEW REVISED MASTODON RETENTION ORDER (.2).                .50    202.50
             RELATED CORRESPONDENCE (.1). REVIEW UST
             OBJECTION TO PROFESSIONAL RETAINERS AND RELATED
             CORRESPONDENCE (.2).

08/07/20 PRH REVISE RETENTION ORDERS AND UPLOAD THEM TO                   .60    243.00
             COURT FOR ENTRY.

08/10/20 PRH REVIEW ORDERS APPROVING RETENTION OF COMMITTEE               .20     81. 00
             PROFESSIONALS (.1). RELATED CORRESPONDENCE
             WITH COMMITTEE PROFESSIONALS (.1).



      TOTAL HOURS            1.30      FOR SERVICES RENDERED       $            526.50



                                       MATTER TOTAL                $            526.50




 *                                 TIME AND FEE SUMMARY                                *
  *         TIMEKEEPER               *    RATE   HOURS                 FEES
 PAUL R. HAGE                           405.00    1.30             526.50
                                TOTALS            1.30             526.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    EMPLOYMENT OBJECTIONS
**OPEN FOR TIME ONLY**


 DATE      ATTY     SERVICE DESCRIPTION                          HOURS

08/17/20 PRH CORRESPONDENCE WITH M. MAGGIO AND M. BRANDESS              .20      81.00
             RE MASTODON RETENTION ORDER.

08/18/20 PRH REVIEW REVISED MASTODON RETENTION ORDER (.2).              .20      81. 00

08/19/20 PRH REVIEW DEBTOR PROFESSIONAL MONTHLY FEE                     .20      81. 00
             STATEMENTS AND RELATED CORRESPONDENCE WITH M.
             BRANDESS.



      TOTAL HOURS         0 .60     FOR SERVICES RENDERED        $             243.00



                                    MATTER TOTAL                 $             243 . 00




  *                              TIME AND FEE SUMMARY                                *
  *          TIMEKEEPER--               RATE   HOURS                 FEES
  PAUL R. HAGE                        405.00     . 60            243.00
                              TOTALS             .60             243.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    EXECUTORY CONTRACTS
**OPEN FOR TIME ONLY**


  DATE   ATTY     SERVICE DESCRIPTION                           HOURS

08/04/20 PRH REVIEW WARDROPP LETTER (.1). RESEARCH ISSUES            1.90      769.50
             REGARDING PERFECTION OF SECURITY INTEREST IN
             LIQUOR LICENSE AND ABILITY TO TRANSFER LICENSE
             IN SALE (1.7). RELATED CORRESPONDENCE WITH M.
             BRANDESS (.1).

08/04/20 PRH CORRESPONDENCE WITH M. BRANDESS RE ADEQUATE              .10       40.50
             ASSURANCE PACKAGE FROM LENDERS.

08/05/20 PRH REVIEW LANDLORD CURE OBJECTIONS (.3).                    .60      243.00
             CORRESPONDENCE WITH CO-COUNSEL RE ADEQUATE
             ASSURANCE REQUEST (.3).

08/06/20 PRH REVIEW FILED CURE OBJECTIONS.                            .30      121.50

08/07/20 PRH REVIEW FILED CURE OBJECTIONS.                            .20       81. 00

08/12/20 PRH REVIEW HEARING NOTICES RE CURE OBJECTIONS.               . 10      40.50

08/17/20 PRH REVIEW IONIA PROPERTIES LEASE ASSUMPTION                 .10       40.50
             OBJECTION.

08/19/20 PRH REVIEW LEASE REJECTION ORDER.                            .10       40.50

08/26/20 PRH REVIEW FILED MOTION TO REJECT LEASES (.1).               .30      121.50
             DISCUSS SAME WITH M. BRANDESS (.2).

08/31/20 PRH REVIEW OMNIBUS MOTION TO REJECT LEASES.                  .20       81.00




    TOTAL HOURS         3 . 90        FOR SERVICES RENDERED    $             1579.50
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                                 MATTER TOTAL                $      1579.50




 *                           TIME AND FEE SUMMARY                          *
 *          TIMEKEEPER         *    RATE   HOURS                FEES
 PAUL R. HAGE                     405 . 00  3 .90          1579.50
                          TOTALS            3.90           1579.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    FEE APPLICATIONS / OBJECTIONS
**OPEN FOR TIME ONLY**


  DATE   ATTY     SERVICE DESCRIPTION                           HOURS

08/03/20 PRH CORRESPONDENCE WITH S. STONE AND J. MORDEN RE            . 10      40.50
             AMHERST FEE STATEMENT.

08/04/20 PRH REVIEW AMHERST FEE STATEMENT (.1).                       .90      364.50
             CORRESPONDENCE AND CALLS WITH M. BRANDESS, S.
             STONE AND J. MORDEN RE NEED TO BREAK DOWN TIME
             ENTRIES BY CATEGORY (.8).

08/06/20 PRH REVIEW TIME ENTRIES AND ATTEND TO PREPARATION            .90      364.50
             OF MONTHLY FEE STATEMENTS.

08/10/20 PRH CORRESPONDENCE WITH M. BRANDESS RE                       .10       40.50
             TIMING/STATUS OF JULY FEE STATEMENTS.

08/11/20 PRH ATTENTION TO MONTHLY FEE STATEMENTS.                     .40      162.00

08/12/20 PRH CORRESPONDENCE RE NOTICE, FILING OF MONTHLY FEE          .30      121.50
             STATEMENTS. ATTENTION TO FEE STATEMENTS.

08/13/20 PRH ATTENTION TO MONTHLY FEE STATEMENTS FOR                  .90      364.50
             COMMITTEE PROFESSIONALS.

08/14/20 PRH ATTENTION TO FILING AND SERVICE OF MONTHLY FEE           .50      202.50
             STATEMENTS FOR COMMITTEE PROFESSIONALS.



    TOTAL HOURS         4.10          FOR SERVICES RENDERED    $             1660.50



                                      MATTER TOTAL             $             1660.50
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 *
                             TIME AND FEE SUMMARY                             *
 *          TIMEKEEPER         *    RATE   HOURS                FEES
 PAUL R. HAGE                     405.00    4.10           1660.50
                          TOTALS            4 . 10         1660.50
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                           Exhibit D
               (September Monthly Fee Statement)
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                           Chapter 11
    BARFLY VENTURES, LLC, et. al, i                        Case No. 20-01947-jwb

             Debtors.                                      (Jointly Administered)




          MONTHLY FEE STATEMENT OF JAFFE RAITT HEUER & WEISS, P.C.
        FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
          EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                        CREDITORS FOR SEPTEMBER 2020


    Name of Applicant:                           Jaffe Raitt Heuer & Weiss, P.C.

    Authorized to provide services to:           Official Committee of Unsecured Creditors

    Effective Date of Retention:                 August 10, 2020 (retroactive to June 25)

    Period for which compensation is sought:     September 2020

    Amount of compensation sought as actual,     $31,705.00
    reasonable, and necessary:                   80% = $25,364.00
                                                 20% = $6,341.00

    Amount of expense reimbursement sought:      $318.76

    Total interim request:                       $25,682.76




1The Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(l 129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaurant
Saloon) (4255).



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                                     Respectfully submitted by,

                                     JAFFE RAIT HEUER & WEISS, P.C.

                                     By:    /s/ Paul R. Hage
                                     Paul R. Hage (P70460)
                                     27777 Franklin Road, Suite 2500
                                     Southfield, MI 48034
                                     Phone: (248) 351-3000
                                     phage@i affelaw.com

                                     -and-

                                     SUGAR FELSENTHAL GRAIS &
                                     HELSINGER, LLP

                                     Michael A. Brandess
                                     Elizabeth Vandesteeg
                                     30 N. LaSalle Street, Suite 3000
                                     Chicago, IL 60602
                                     Phone: (312) 704-9400
                                     mbradness@sfgh.com
                                     evandesteeg@sfgh.com

                                     Counsel to the Official Committee of Unsecured
                                     Creditors of Barfly Ventures, LLC et al

Dated: October 7, 2020.
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                                                             Jaffe
                                                             J    JAFFE RAITT HEUER & WEISS
                                                                     *1   Pnifrttimmit Otrfntroiion
                                                                   AttorrityX <t: Coumrlorx

                               27777 FRANKLIN ROAD, SUITE 2500 • P.O. BOX 5034 • SOUTHFIELD, MICHIGAN 48086-5034
                                                    PHONE 248.351.3000 • FAX 248.351.3082
                                                                  www.jaffelaw.com



      O f f i c i a l   Committee        of      Unsecured   Creditors                 o f      BaOctober       6,    2020

      c/o Gordon           Food Service,            Inc.
      Sharon       Murphy          Director         of   Credit

      13 00    Gezon       Parkway       SW
      Wyoming,          M I 4 9 5 0 9 - 9 30 0                                                        Invoice   No.    467 078




FOR   LEGAL      SERVICES         RENDERED THROUGH SEPTEMBER                           30,        2020
AS    ITEMIZED ON          THE    ATTACHED REPORT:




ASSET    ANALYSIS


                                                                  Total             Fees                         $5,866.00

                                                                  Total             Costs                               $0.00

                                                                  Subtotal                                       $5,866.00

ASSET    DISPOSITION


                                                                  Total             Fees                        $19,602.00

                                                                  Total             Costs                               $0 . 00

                                                                  Subtotal                                      $19,602.00

CASE ADMINISTRATION


                                                                  Total             Fees                         $1,701.00

                                                                  Total             Costs                               $0 . 00

                                                                  Subtotal                                       $1,701.00

CLAIMS


                                                                  Total              Fees                             $162.00
                                                                  Total             Costs                               $0 . 00

                                                                  Subtotal                                            $162.00
COMMITTEE        COMMUNICATIONS


                                                                  Total             Fees                         $2,592.00

                                                                  Total             Costs                               $0 . 00

                                                                  Subtotal                                       $2,592.00
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     DISBURSEMENTS



                                                              Total   Fees                      $0 .00
                                                              Total   Costs                   $318 . 76


                                                              Subtotal                        $318.76
     EXECUTORY      CONTRACTS



                                                              Total   Fees                    $243.00
                                                              Total   Costs                     $0 . 00

                                                              Subtotal                        $243.00
     FEE   APPLICATIONS      /   OBJECTIONS



                                                              Total   Fees                  $1,174.50
                                                              Total   Costs                     $0 . 00

                                                              Subtotal                      $1,174.50
     FINANCING



                                                              Total   Fees                    $364,50
                                                              Total   Costs                     $0 . 00

                                                          Subtotal                            $364 .50




                                       TOTAL   FEES    THIS    INVOICE              $       31,705.00



                                       TOTAL   COSTS   THIS     INVOICE             $          318.76


                                       TOTAL AMOUNT      DUE                        $       32,023.76




    FED.   TAX     I.D.   XX-XXXXXXX        TERMS:      NET    30   DAYS


    {Jl}
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INVOICE NO.:          467078




    O f f i c i a l   Committee       of    Unsecurecl Creditors                     of    Barfly Ventures
    ASSET ANALYSIS

**OPEN   FOR     TIME       ONLY**




  DATE       ATTY            SERVICE       DESCRIPTION                                                          HOURS


08/27/20     DWW      PHONE    CONFERENCE W/                 PAUL HAGE,         ATTENTION TO TRO                   .40     166.00
                      STANDARD.


09/01/20     PRH      CONFERENCE       CALL TO           DISCUSS PPP            STRATEGY             WITH J .      .90      364.50
                      LUCAS    AND M.       BRANDESS             (.6) .       REVIEW       DRAFT OF
                      PPP COMPLAINT          ( . 2 ) .        CORRESPONDENCE               WITH       M.
                      BRANDESS AND          J.    LUCAS          (.1) .


09/01/20     PRH      RESEARCH       REGARDING           PPP ARGUMENT.                                           1.20       486.00


09/02/20     PRH      REVIEW    FILINGS          IN   SELLERS BANKRUPTCY                       CASE.               . 10      40 . 50


09/03/20     PRH      CORRESPONDENCE             WITH M.          BRANDESS          RE DERIVATIVE                  .30     121.50
                      STANDING       ISSUE.


09/09/20     PRH      ATTENTION TO          STIPULATION RE                    DERIVATIVE         STANDING         1.30      526.50

                      FOR    COMMITTEE.



09/10/20     PRH      FINALIZE DRAFT             STIPULATION RE                 DERIVATIVE                        1.30      526.50

                      STANDING       AND RELATED CORRESPONDENCE                            WITH
                      CO-COUNSEL.



09/14/20     PRH      ATTENTION       TO EDITS           TO STIPULATION RE                     DERIVATIVE         1.00      405.00
                      STANDING       (.5).        RELATED CORRESPONDENCE                         (.3).
                      PHONE    CALL AND CORRESPONDENCE                          WITH      E.    VON

                      EITZEN RE       SAME       ( . 2 ) .


09/15/20     PRH      REVIEW    D&O    POLICIES              ( . 5 ) .    CORRESPONDENCE               WITH        .60      243.00

                      M.    BRANDESS       AND M.        COOPER          RE    INSURANCE         ISSUES
                      (.1) .
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                       CORRESPONDENCE             WITH M.          COOPER    RE D&O       POLICY                      1.20      486.00
09/16/20         PRH
                       REVIEW    (.1).            DISCUSS      D&O    STRATEGY WITH             M.

                       BRANDESS    (.3).            PHONE      CALL WITH       CHAMBERS              RE

                       STATUS   OF DERIVATIVE                 STANDING       ORDER       ( . 1 ) .

                       CONFERENCE       CALL WITH             M.    BRANDESS AND E.

                       VANDESTEEG       RE STRATEGY                (.7).



                                           REVIEW EXCEPTIONS                 TO INSURED              V.                .50      217.50
09/17/20         MGC   WORK   ON AND

                       INSURED    EXCLUSION              IN   D&O    POLICY.



                                                   AND    CALLS      WITH M.    COOPER AND                M.          1.90      769.50
09/17/20         PRH   CORRESPONDENCE

                       BRANDESS    RE P&O           INSURANCE         COVERAGE       ISSUES           ( . 9 ) .

                       REVIEW    POLICIES           (.8).          RESEARCH    RE    BREACH           OF

                       FIDUCIARY       DUTY        CONSTITUTES A TORT               CLAIM        IN

                       MICHIGAN       ( . 2 ) .



                                  FOR AND           CALL WITH         CO-COUNSEL          DISCUSSING                   .50      217.50
09/18/20         MGC   PREPARE

                       D&O    INSURANCE           ISSUES.


                                                                      DISCUSS D&O            STRATEGY.                 .50      202.50
0 9 / 1 8 / 20   PRH   ATTEND    CONFERENCE              CALL TO


                                                                   COOPER    AND    M.     BRANDESS                    .60      243.00
09/21/20         PRH   CORRESPONDENCE              WITH M.

                       RE D&O    INSURANCE           ISSUES.


                                                                              ISSUES.                                  .30      121.50
09/22/20         PRH   CORRESPONDENCE              RE D&O      COVERAGE


                                                                                               ADDENDUM               1.50      607.50
09/24/20         PRH ATTEND      TO DRAFT           SELLERS         PROOF OF CLAIM

                       (1.1).     RELATED           CORRESPONDENCE             (.1).

                       CORRESPONDENCE              RE    INSURANCE         ISSUES     (.3).



                 PRH   REVIEW    FINAL DRAFT              OF   PROOF       OF CLAIM AND                                .10       40 . 50
09 / 2 8 / 2 0
                       RELATED    CORRESPONDENCE WITH M.                      BRANDESS.



                 PRH   REVIEW    FILINGS           IN    SELLERS CHAPTER            1 1 CASE.                           .20      81. 00
09/29/20




       TOTAL       HOURS              14 .40                   FOR   SERVICES       RENDERED                      $           5866.00




                                                               MATTER       TOTAL                                 $            5866.00
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  *                                    TIME       AND   FEE   SUMMARY                                      *

  *              TIMEKEEPER                 *       RATE       HOURS                         FEES

  MARK G      COOPER                              435.00       1.00                  435.00

  DAVID W     WILLIAMS                            415.00           .40               166.00
  PAUL   R.   HAGE                                405.00       13.00                5265.00

                                    TOTALS                     14.40                5866.00
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INVOICE NO,:            467078




      Official          Committee      of     Unsecured          Creditors       of        Barfly       Ventures

      ASSET       DISPOSITION




   DATE          ATTY         SERVICE       DESCRIPTION                                                       HOURS



09/09/20         PRH   E-MAIL CORRESPONDENCE                 WITH       ESTATE        PROFESSIONALS                 1.40     567.00

                       RE   STATUS     OF     SALE     PROCESS         (.2).     ATTEND
                        CONFERENCE      CALL WITH           COUNSEL       FOR    SECURED
                        CREDITORS      RE     STATUS OF          SALE    PROCESS           ( . 5 ) .
                        FOLLOW UP      CALL     WITH M.          BRANDESS       (.4).            FOLLOW
                       UP   CORRESPONDENCE             WITH M,        BRANDESS         AND E.

                       VANDESTEEG        ( . 3 ) .


09 / 1 0 / 2 0   PRH    VARIOUS      CORRESPONDENCE              WITH M.       BRANDESS           AND E .           2.40     972.00

                       VANDESTEEG RE           SALE     OBJECTION         ISSUES.               (1.1)•
                       ATTEND CONFERENCE               CALL WITH         DEBTOR
                        PROFESSIONALS          AND     INVESTMENT BANKER                   RE    SALE

                        PROCESS      (.7) .    FOLLOW       UP    CALL    WITH        M.    BRANDESS

                        AND S.    STONE       (.2) .     REVIEW         FILED    SALE           OBJECTION
                        ( .1) .   PHONE       CALL WITH          M.   BRANDESS         RE       POTENTIAL

                        RESOLUTINO      OF SALE         OBJECTION         (.3).


09/11/20         PRH    CORRESPONDENCE          REGARDING ADJOURNMENT                       OF SALE                  .50     202,50

                        AND   RELATED DEADLINES              (.3).        REVIEW           STIPULATION

                       AND ORDER       AND     RELATED CORRESPONDENCE                        ( .2) .

0 9 / 1 4 / 20   PRH    VARIOUS      CORRESPONDENCE              WITH    ESTATE                                      .60     243.00

                        PROFESSIONALS          RE SALE       ISSUES       ( . 4 ) .        REVIEW

                        FILED STIPULATION              AND ORDER         RE    SALE        DEADLINES
                        AND   RELATED       CORRESPONDENCE              (.2).


09/15/20         PRH    ATTEND STATUS          CONFERENCE             WITH COURT           ( . 5 ) .                1.00     405.00

                        FOLLOW    UP   CALLS         WITH   M.    MAGGIO AND M.                 BRANDESS
                        ( .3) .   CORRESPONDENCE             RE       WIND-DOWN BUDGETING
                        (.2) .
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OICE NO.: 467078

/16/20 PRH REVIEW NOTICE RE CANCELLATION OF AUCTION (.1).                                                                                 .20       81.00
           CORRESPONDENCE RE SALE WITH M. BRANDESS AND M.
           MAGGIO (.1).

 17/20        PRH CORRESPONDENCE WITH M. BRANDESS RE SALE ISSUES,                                                                       .30       121.50
                  STRUCTURED DISMISSAL.

/18/20 PRH ATTEND CALL WITH ESTATE PROFESSIONALS REGARDING                                                                              .90      364.50
           WIND-DOWN BUDGET, CAPITALIZATION OF POST-SALE
           BUSINESS (.6). FOLLOW UP CALL WITH M. B R A N D E S S
           AND AND E. VANDESTEEG (.3).

/21/20 PRH CONSIDER ARGUMENTS RE SALE O B J E C T I O N A N D                                                                    1.00           405.00
           RELATED CORRESPONDENCE WITH CO-COUNSEL ( . 6 ) .
           CONFERENCE CALL WITH M. B R A N D E S S A N D E .
           VANDESTEEG RE OBJECTION S T R A T E G Y ( . 4 ) .

/ 2 2 / 2 0   PRH   ATTENTION TO                   EDITS      TO    SALE         OBJECTION               ( 2 . 8 ) .            3.50       1417.50
                    PHONE       CALL       WITH          M.   BRANDESS            AND          E.    VANDESTEEG
                    RE    OBJECTION                (.4).        CORRESPONDENCE                      TO     COURT       RE

                    ATTENDANCE             AT       SALE      HEARING          (.1).          PHONE CALL
                    WITH       M.    BRANDESS            RE    OBJECTION              S T R A T E G Y (.2).



 /23/20       PRH   ATTEND          TO   SALE       OBJECTION                        P H O N E CALLS
                                                                            ( 3 . 9 ) .                                       6 . 4 0    2592.00
                    AND       CORRESPONDENCE WITH                        M.    BRANDESS AND E.
                    VANDESTEEG             RE      SAME       ( 1 . 3 ) .      FINALIZE,              FILE     AND

                    SERVE       SALE       OBJECTION             (.6).           REVIEW             SALE

                    OBJECTION            FILED       BY       UST    ( . 3 ) .      PHONE CALL               WITH

                    M.   BRANDESS           RE      DISCUSSION              WITH      J.       LUCAS,       ORAL
                    ARGUMENT             (.3).


9/24/20       PRH   CORRESPONDENCE                  WITH      CO-COUNSEL RE                    SALE      HEARING            3.30        1336.50
                    (.4).           PHONE     CALL        WITH      M.      MAGGIO         RE       SALE
                    HEARING          (.3).          PHONE       CALLS WITH                M. BRANDESS, E.
                    VANDESTEEG             AND      J.    LUCAS      RE       STATUS           SALE ( . 7 ) .
                                                                                               OF
                    REVIEW          SALE    RELATED           DECLARATIONS                 (.2).  REVIEW
                    OUTLINE         AND     SUPPORTING              DOCUMENTS             FOR       ORAL
                    ARGUMENT          ( . 2 ) ..     REVIEW LENDER REPLY BRIEF ( . 5 ) .
                    CONFERENCE             CALL      TO DISCUSS HEARING S T R A T E G Y
                    W I T H   M .   B R A N D E S   S A N D E . V A N D E S T E E G ( 1 . 0 ) .
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BARFLY VENTURES,         ET AL,     OFFICIAL              COMMITTEE           OF UN       Oct        6,       2 02 0          PAGE   8

CLIENT    NUMBER:   UCCBAR

INVOICE    NO.:   467078



09/25/20    PRH   PREPARATIONS              FOR   SALE          HEARING       (3.0).          ATTEND               12.30       4981.50

                  SALE     HEARING          (2.5),        ATTEND MEDIATION                   (6.1).
                  ATTEND      FOLLOW          UP WITH           COURT    RE     MEDIATION           (.3) .

                  FOLLOW      UP    CALLS AND             CORRESPONDENCE              WITH

                  COMMITTEE         PROFESSIONALS                 (.4) .



09/26/20    PRH   CONFERENCE         CALL WITH             COMMITTEE            PROFESSIONALS                 TO       1.70     688.50

                  DISCUSS SALE              LITIGATION STRATEGY                   (1.2).

                  CORRESPONDENCE               AND CALL           WITH     M.    BRANDESS

                  REGARDING         SETTLEMENT             DISCUSSIONS            ( . 5 ) .



09/27/20    PRH   REVIEW AND         REVISE          DRAFT TERM            SHEET       ( . 5 ) .                       2.80    1134.00

                  RESEARCH AND              CORRESPONDENCE               RE     UST   FEE      ISSUE

                  (.4) .      PHONE         CALLS AND CORRESPONDENCE                          WITH       M.

                  BRANNDEESS,            E.    VANDESTEEG AND M.                  MAGGIO

                  REGARDING         SALE       OBJECTION           ISSUES        (.9).         ATTEND

                  CONFERENCE         CALL WITH              COMMITTEE           PROFESSIONALS                 RE

                  NEGOTIATION            STRATEGY           (1.0).



09/28/20    PRH   CORRESPONDENCE AND                      CALLS    WITH       CO-COUNSEL            RE                 2.20     891.00

                  SETTLEMENT OFFER                  ( . 4 ) .     PHONE       CALLS WITH

                  MEDIATOR,         M.      BRANDESS            AND E.     VANDESTEEG              RE

                  SETTLEMENT OF               SALE        OBJECTION        (1.6).            REVIEW

                  SCHEDULING ORDER                  FROM COURT AND RELATED

                  CORRESPONDENCE               WITH M.           BRANDESS        ( . 2 ) .



09/29/20    PRH   ATTEND       CONFERENCE            CALL WITH           M.     BRANDESS           AND E .             3.00    1215.00

                  VANDESTEEG         RE       WIND-DOWN           BUDGET,        STRATEGY           (.6).

                  ATTENTION         TO      WITNESS         LIST    FOR       SALE     EVIDENTIARY

                  HEARING       ( . 1 ) .      ATTEND           BUDGET     CALL       WITH

                  PROFESSIONALS               FOR    DEBTOR        (1.0).         FOLLOW           UP

                  CALLS       AND   CORRESPONDENCE                 WITH M.        BRANDESS AND

                  E.   VANDESTEEG             ( . 5 ) .     PHONE       CALLS     TO J.        GREGG

                  AND    M.    MAGGIO         (.4).         REVIEW       REVISED WINDDOWN

                  BUDGET AND RELATED                      CORRESPONDENCE              (.4).
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09/30/20      PRH   VARIOUS       CORRESPONDENCE         RE SALE        RELATED      ISSUES             4.90     1984.50
                    WITH    CO-COUNSEL      (1.3).           CONFERENCE       CALLS       WITH
                    M.   BRANDESS       AND L.    VANDESTEEG           RE   STRATEGY
                    (1.5).    CONFERENCE         CALL    AND        CORRESPONDENCE        WITH
                    MEDIATOR      RE    STATUS   OF NEGOTIATIONS              ( . 4 ) .
                    ATTENTION TO WITNESS               LIST AND        REVIEW    WITNESS
                    LIST    FILED BY      LENDERS       ( . 4 ) .    REVIEW AND REVISE
                    PROPOSED      SALE    ORDER       (1.3).




      TOTAL    HOURS              48.40                FOR    SERVICES       RENDERED             $            19602.00




                                                       MATTER       TOTAL                         $            19602.00




  *                                          TIME       AND    FEE     SUMMARY                                         *

  *                 TIMEKEEPER                    *          RATE       HOURS                            FEES

  PAUL   R.    HAGE                                     405.00          48.40                   19602.00
                                          TOTALS                        48.40                   19602.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    CASE ADMINISTRATION
**OPEN FOR TIME ONLY**


 DATE   ATTY     SERVICE DESCRIPTION                           HOURS

09/02/20 PRH CONFERENCE CALLS AND CORRESPONDENCE WITH J.          1.00       405.00
             LUCAS, M. BRANDESS AND E. VANDESTEEG REGARDING
             SALE UPDATE, PPP ISSUES AND CASE STRATEGY (.9).
             REVIEW FINANCIALS PROVIDED BY J. MORDEN (.1).

09/08/20 PRH CORRESPONDENCE WITH J. LUCAS AND M. BRANDESS RE         .80     324.00
             STATUS OF CASE (.1). CONFERENCE CALL WITH J.
             LUCAS, E. VANDESTEEG AND M. BRANDESS RE STATUS
             OF CASE (.4). FOLLOW UP CALL AND
             CORRESPONDENCE WITH M. BRANDESS AND E.
             VANDESTEEG (.3).

09/09/20 PRH CONFERENCE CALL WITH M. BRANDESS AND E.                 .60      243.00
             VANDESTEEG RE CASE STRATEGY.

09/10/20 PRH RESPOND TO PHONE CALL AND E-MAIL FROM CREDITOR          .50      202.50
             REGARDING STATUS OF CASE, SALE PROCESS.

09/15/20 PRH ATTEND CONFERENCE CALL WITH M. BRANDESS AND J.          .80      324.00
             LUCAS RE STATUS OF CASE (.6). FOLLOW UP CALL
             WITH M. BRANDESS (.2).

09/16/20 PRH REVIEW MONTHLY OPERATING REPORTS FILED BY               .20       81. 00
             DEBTORS.

09/23/20 PRH REVIEW FILED MONTHLY OPERATING REPORT.                  .20       81.00

09/28/20 PRH REVIEW OPERATING REPORT FILED BY DEBTORS.               , 10     40.50



   TOTAL HOURS         4.20       FOR SERVICES RENDERED       $             1701.00
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                                  MATTER TOTAL               $      1701.00




 •                            TIME AND FEE SUMMARY                         *

 •          TIMEKEEPER          *    RATE   HOURS                FEES
 PAUL R. HAGE                      405,00    4.20           1701.00
                           TOTALS            4.20           1701.00
                    Case:20-01947-jwb     Doc #:410 Filed: 12/02/2020     Page 93 of 119




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    Official Committee of Unsecured Creditors of Barfly Ventures
    CLAIMS
**OPEN FOR TIME ONLY**


 DATE     ATTY      SERVICE DESCRIPTION                          HOURS

09/14/20 PRH REVIEW GORDON FOODS ADMINISTRATIVE EXPENSE AND             .40     162.00
             PACA FILINGS.



      TOTAL HOURS        0.40         FOR SERVICES RENDERED      $             162.00




                                      MATTER TOTAL               $             162.00




  *                                TIME AND FEE SUMMARY                              *

  *          TIMEKEEPER              •    RATE   HOURS                  FEES
  PAUL R. HAGE                          405.00     .40           162.00
                                TOTALS             .40           162.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    COMMITTEE COMMUNICATIONS
**OPEN FOR TIME ONLY**


 DATE   ATTY    SERVICE DESCRIPTION                           HOURS

09/01/20 PRH REVIEW AGENDA AND SALE RELATED DOCUMENTS IN            .80      324.00
             PREPARATION FOR COMMITTEE CALL (.2). ATTEND
             WEEKLY COMMITTEE CALL (.6).

09/08/20 PRH REVIEW AGENDA IN PREPARATION FOR WEEKLY                .80      324.00
             COMMITTEE CALL (.1). ATTEND WEEKLY COMMITTEE
             CALL (.7).

09/10/20 PRH ATTEND COMMITTEE CONFERENCE CALL TO DISCUSS           1.70      688.50
             SALE STATUS, OBJECTION (1.2). FOLLOW UP CALL
             WITH M. BRANDESS AND L. VANDESTEEG (.5).

09/11/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS REGARDING        . 10      40.50
             POTENTIAL SALE SETTLEMENT AND MONTHLY FEE
             STATEMENTS.

09/15/20 PRH CORRESPONDENCE WITH M. BRANDESS RE COMMITTEE           .60      243.00
             CALL AGENDA (.1). ATTEND COMMITTEE CONFERENCE
             CALL (.5).

09/18/20 PRH CORRESPONDENCE RE COMMITTEE CALL RE STATUS OF          .70      283.50
             CASE (.1). ATTEND CALL (.6).

09/23/20 PRH ATTEND COMMITTEE CONFERENCE CALL RE SALE              1.00      405.00
             OBJECTION (.6). FOLLOW UP CALL WITH M.
             BRANDESS AND E. VANDESTEEG (.4).

09/24/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE STATUS        .20       81. 00
             OF SALE NEGOTIATIONS, OBJECTIONS.

09/29/20 PRH ATTEND COMMITTEE CONFERENCE CALL RE STATUS OF          .50      202.50
             CASE.
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      TOTAL HOURS        6.40       FOR SERVICES RENDERED                $      2592.00



                                    MATTER TOTAL                         $      2592.00




  *                             TIME AND FEE SUMMARY                                   *

  *         TIMEKEEPER            *    RATE   HOURS                          FEES
 PAUL R. HAGE                        405.00    6.40                     2592.00
                             TOTALS            6.40                     2592.00




                                                                    \
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    Official Committee of Unsecured Creditors of Barfly Ventures
    DISBURSEMENTS
**OPEN FOR COST ONLY**



             *************** DISBURSEMENTS ****************

08/04/20 WESTLAW CHARGES                                                 294.01
08/31/20 COPY EXPENSE # 2                                                  3.15
09/02/20 TRANSCRIPT FEES          VENDOR: GAIL L. BEACH                   21.60



                                       TOTAL DISBURSEMENTS        $       318.76


                                       MATTER TOTAL               $       318.76
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    Official Committee of Unsecured Creditors of Barfly Ventures
    EXECUTORY CONTRACTS
**OPEN FOR TIME ONLY**


 DATE     ATTY      SERVICE DESCRIPTION                             HOURS

09/16/20 PRH REVIEW ORDER REJECTING VARIOUS LEASES.                       . 10      40.50

09/17/20 PRH CORRESPONDENCE RE MOTION TO EXTEND DEADLINE TO               .10       40.50
             ASSUME LEASES.

09/18/20 PRH REVIEW MOTION TO EXTEND TIME RE LEASES.                      .20       81.00

09/24/20 PRH REVIEW ORDER REJECTING CONTRACTS.                            .10       40.50

09/29/20 PRH REVIEW FILINGS RELATED TO REJECTION OF LEASES                .10       40.50
             AND CONTRACTS.



      TOTAL HOURS         0.6 0         FOR SERVICES RENDERED       $             243.00



                                         MATTER TOTAL               $             243 . 00




  *                                  TIME AND FEE SUMMARY                               *
  *          TIMEKEEPER                *    RATE   HOURS                FEES
  PAUL R. HAGE                            405.00     .6 0           243.00
                                  TOTALS             .60            243.00
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    Official Committee of Unsecured Creditors of Barfly Ventures
    FEE APPLICATIONS / OBJECTIONS
**OPEN FOR TIME ONLY**


 DATE     ATTY      SERVICE DESCRIPTION                          HOURS

09/04/20 PRH ATTENTION TO MONTHLY FEE STATEMENT (.7).                  .80    324.00
             RELATED CORRESPONDENCE WITH COMMITTEE
             PROFESSIONALS (.1).

09/08/20 PRH REVIEW DRAFT AMHERST MONTHLY FEE STATEMENT AND            .20     81. 00
             RELATED CORRESPONDENCE.

09/11/20 PRH FINALIZE MONTHLY FEE STATEMENTS AND SEND SAME           1.10     445.50
             TO COMMITTEE MEMBERS FOR REVIEW AND APPROVAL.

09/14/20 PRH FINALIZE, FILE AND SERVE MONTHLY FEE                      .60    243.00
             STATEMENTS.

09/21/20 PRH REVIEW FEE APPLICATIONS FILED BY DEBTOR                   .20      81.00
             PROFESSIONALS.



      TOTAL HOURS         2.90         FOR SERVICES RENDERED     $           1174.50



                                       MATTER TOTAL              $           1174.50




  *                                 TIME AND FEE SUMMARY                            *

  *          TIMEKEEPER               *    RATE   HOURS              FEES
  PAUL R. HAGE                           405.00    2.90         1174.50
                                 TOTALS            2.90         1174.50
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    Official Committee of Unsecured Creditors of Barfly Ventures
    FINANCING
**OPEN FOR TIME ONLY**


 DATE     ATTY      SERVICE DESCRIPTION                         HOURS

09/16/20 PRH REVIEW PROPOSED REVOLVER RE POST-SALE FINANCING          .40     162.00
             AND RELATED CORRESPONDENCE.

09/18/20 PRH REVIEW EDITS TO POST-PETITION FINANCING                  .50     202.50
             DOCUMENTS AND RELATED CORRESPONDENCE.



      TOTAL HOURS        0.90       FOR SERVICES RENDERED       $            364.50



                                    MATTER TOTAL                $            364.50




  *                             TIME AND FEE SUMMARY                               *
  *          TIMEKEEPER           *    RATE   HOURS                 FEES
  PAUL R. HAGE                       405.00     .90             364.50
                             TOTALS             .90             364.50
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                              Exhibit E
                    (October Monthly Fee Statement)
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF MICHIGAN

   In re:
                                                          Chapter 11
   BARFLY VENTURES, LLC, et al, i                         Case No. 20-01947-jwb

               Debtors.                                   (Jointly Administered)



          MONTHLY FEE STATEMENT OF JAFFE RAITT HEUER & WEISS, P.C.
        FOR COMPENSATION FOR SERVICES RENDERED & REIMBURSEMENT OF
          EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
                        CREDITORS FOR OCTOBER 2020


  Name of Applicant:                            Jaffe Raitt Heuer & Weiss, P.C.
  Authorized to provide services to:            Official Committee of Unsecured Creditors
  Effective Date of Retention:                  August 10, 2020 (retroactive to June 25)
  Period for which compensation is sought:      October 2020
  Amount of compensation sought as actual,      $14,538.00
  reasonable, and necessary:                    80% = $11,630.40
                                                20% = $2,907.60

  Amount of expense reimbursement sought:       $147.27
  Total interim request:                       $11,777.67



1 The
      Debtors are: Barfly Ventures, LLC, (8379), Barfly Management, LLC (6274), 9 Volt, LLC
(d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC,
(d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East
Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago LLC (7552), HopCat-
Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat- GR Beltline, LLC (9149),
HopCat-Holland, LLC (7132), HopCat Indianapolis, LLC (d/b/a HopCat-Broad Ripple)(7970),
HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC
                                                                                         and
TikiCat)(6242), HopCat Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-
Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat- Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat- Royal Oak, LLC (1935), HopCat-St. Louis, LLC
(6994), Luck of the Irish, LLC (d/b/a The Waldron Public House LLC and McFadden's Restaura
                                                                                           nt
Saloon) (4255).



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                                     Jaffe
                                      ijt   JAFFE RAITT HEUER & WEISS
                                                 Respectfully submitted by,
                  27777 FRANKLIN ROAD, SUITE 2500 • SOUTHFIELD, MICHIGAN 48034-8214

                                PH0NE
                                                                             &   WEISS, P.C.

                                                 By:    /s/ Paul R. Hage
                                                 Paul R. Hage (P70460)
                                                 27777 Franklin Road, Suite 2500
                                                 SoutMeld, MI 48034
                                                 Phone: (248) 351-3000
                                                 phage@i affelaw.com

                                                 -and-

                                                SUGARFELSENTHAL GRAIS &
                                                HELSINGER, LLP

                                                Michael A. Brandess
                                                30 N. LaSalle Street, Suite 3000
                                                Chicago, IL 60602
                                                Phone: (312) 704-9400
                                                mbradness@sfgh,com

                                                Counsel to the Official Committee of Unsecured
                                                Creditors of Barfly Ventures, LLC et al

Dated: November 11, 2020.




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                                            Allomep it: Gmwlorx


                                PHONE 248.351.3PQD, • FAX 248.351.3082
                                          www.ianelaw.com
                                          www.jattelaw.com



    Official Committee of Unsecured Creditors of BaNovember 10, 2020
    c/o Gordon Food Service, Inc.
    Sharon Murphy - Director of Credit
    13 00 Gezon Parkway SW
    Wyoming, MI 49509-9300                         Invoice No. 468705




FOR LEGAL SERVICES RENDERED THROUGH OCTOBER 31                    2020
AS ITEMIZED ON THE ATTACHED REPORT:


ASSET ANALYSIS

                                           Total Fees                        $729,00
                                           Total Costs                         $0.00

                                           Subtotal                          $729.00
ASSET DISPOSITION

                                           Total Fees                      $10,530.00
                                           Total Costs                          $0 . 00

                                           Subtotal                        $10,530.00
CASE ADMINISTRATION

                                           Total Fees                       $1,335.00
                                           Total Costs                          $0.00

                                           Subtotal                         $1,335.00
CLAIMS

                                           Total Fees                          $40.50
                                           Total Costs                          $0.0 0


                                           Subtotal                            $40.50
COMMITTEE COMMUNICATIONS

                                           Total Fees                         $607.50
                                           Total Costs                          $0 . 00

                                           Subtotal                           $607.50




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                                             Jaffe JAFFE RAITT HEUER & WEISS


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CLIENT NUMBER: UCCBAR
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    DISBURSEMENTS

                                                     Total Fees                               $ 0.0 0
                                                     Total Costs                        $147.27

                                                    Subtotal                           $147.27
    EXECUTORY CONTRACTS

                                                    Total Fees                          $162.00
                                                    Total Costs                               $0 , 00

                                                    Subtotal                           $162,00
    FEE APPLICATIONS / OBJECTIONS

                                                    Total Fees                      $1,134,00
                                                    Total Costs                               $0 . 00

                                                    Subtotal                        $1,134.00



                               TOTAL FEES THIS INVOICE                         $    14,538.00

                               TOTAL COSTS THIS INVOICE                        $         147.27

                               TOTAL AMOUNT DUE                                $    14,685.27




    FED. TAX I.D. XX-XXXXXXX       TERMS:      NET 3 0 DAYS

    {Jl}




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    Official Committee of Unsecured Creditors of Barfly Ventures
    ASSET ANALYSIS
**OPEN FOR TIME ONLY**


 DATE      ATTY     SERVICE DESCRIPTION                                             HOURS

10/13/20 PRH CORRESPONDENCE WITH M. BRANDESS RE STRATEGY FOR                            .20      81. 00
             SELLERS CLAIMS.

10/14/20 PRH ATTENTION TO PRO HAC VICE ADMISSION OF J.                                 1.50    607.50
             O'CONNOR AND RELATED CORRESPONDENCE (.6). PHONE
             CALL WITH J, PIGGINS RE EXTENDING SELLERS 523
             DEADLINE {.5). FOLLOW UP CALLS AND
             CORRESPONDENCE WITH M. BRANDESS (.4).

10/15/20 PRH CORRESPONDENCE RE PRO HAC ADMISSION IN SELLERS                             .10      40.50
             CASE FOR J. O'CONNOR.



      TOTAL HOURS         1.80          FOR SERVICES RENDERED                      $           729.00



                                        MATTER TOTAL                               $           729.00




  *                                 TIME AND FEE SUMMARY                                             *

  *         TIMEKEEPER                *    RATE   HOURS                                 FEES
 PAUL R. HAGE                            405.00    1.80                           . 729.00
                                 TOTALS            1.80                             729.00




                                       SOUTHFIELD • DETROIT • ANN ARBOR • NAPLES
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   Official Committee of Unsecured Creditors of Barfly Ventures
   ASSET DISPOSITION



 DATE    ATTY       SERVICE DESCRIPTION                                            HOURS

10/01/20 PRH ATTENTION TO SERVICE OF WITNESS LIST AND                               6.30     2551.50
             RELATED CORRESPONDENCE (.3). REVIEW REVISED
             TERM SHEET FROM LENDERS (.3). VARIOUS CALLS
             AND CORRESPONDENCE WITH CO-COUNSEL RE
             SETTLEMENT TERMS (2.3). CONFERENCE CALLS WITH
             J. GREGG RE COUNTER OFFER (1.3). CONTINUED
             SETTLEMENT NEGOTIATIONS WITH DEBTOR AND
             COMMITTEE PROFESSIONALS AND MEDIATOR (2.1).

10/02/20 PRH VARIOUS CALLS AND CORRESPONDENCE RE SETTLEMENT                          3.00    1215.00
             DISCUSSIONS (2.2) . REVIEW REVISED TERM SHEET
             ( . 2 ) . ATTEND STATUS CONFERENCE WITH COURT
                (.6) .

10/07/20 PRH REVIEW AND REVISE PROPOSED SALE ORDER (3.5).                            4.50    1822.50
             DISCUSS EDITS WITH E. VANDESTEEG (.2). RELATED
             CORRESPONDENCE WITH M. BRANDESS AND J. LUCAS
             (.2). REVIEW REVISIONS FROM J. ROSELL AND
             RELATED CORRESPONDENCE (.6).

10/08/20 PRH PHONE CALL FROM M. MAGGIO RE STATUS OF SALE                              .70        283.50
             OBJECTIONS (.4). FOLLOW UP CALL WITH M.
             BRANDESS ( . 2 ) . FOLLOW UP CORRESPONDENCE WITH
             M. MAGGIO AND M. BRANDESS (.1).         .

10/09/20 PRH CORRESPONDENCE WITH CO-COUNSEL RE ISSUES FOR                             .30        121.50
             SALE HEARING (.1). CORRESPONDENCE RE SALE
             ORDER ( . 2 ) ,

10/11/20 PRH REVIEW LENDERS' EDITS TO SALE ORDER (.3).                               1.70        688.50
             MULTIPLE PHONE CALLS AND CORRESPONDENCE WITH M.
             BRANDESS AND E. VANDESTEEG RE. SALE ORDER (1.4).




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10/12/20 PRH VARIOUS CORRESPONDENCE AND CALLS WITH M.                                4.70     1903.50
             BRANDESS, E, VANDESTEEG AND J. ROSELL RE
             REVISIONS TO SALE ORDER (2.3). ATTENTION TO
             REVISIONS TO SALE ORDER (1.3). REVIEW LIST RE
             ASSIGNED CAUSES OF ACTION (.2). PHONE CALL
             WITH E. VONEITZEN RE AGENDA FOR SALE HEARING
             (.2). PHONE CALLS WITH M. MAGGIO RE STATUS OF
             DISCUSSIONS (.3). REVIEW FILED SALE
             ORDER/AGENDA (.4).

10/13/20 PRH ATTEND SALE HEARING (1.8). FOLLOW UP CALLS AND                          2.40      972.00
             CORRESPONDENCE WITH M. BRANDESS (.5).
             CORRESPONDENCE RE UST FEE ISSUE (.1).

10/14/20 PRH REVIEW REVISED SALE ORDER AND RELATED                                    .30      121.50
             CORRESPONDENCE WITH ESTATE PROFESSIONALS.

10/15/20 PRH REVIEW ENTERED SALE ORDER.                                               .20        81. 00


10/19/20 PRH REVIEW NOTICE OF CANCELLATION OF HEARING (.1).                           ,50      202.50
             REVIEW STIPULATION RE MODIFICATION OF SALE
             ORDER AND RELATED CORRESPONDENCE (.4).

10/20/20 PRH REVIEW REVISED SALE DOCUMENTS AND RELATED                                .30       121.50
             CORRESPONDENCE WITH M. BRANDESS.

10/21/20 PRH REVIEW FILED STIPULATION RE SALE ORDER AND                               .30       121.50
             ENTERED ORDERS AND RELATED CORRESPONDENCE WITH
             COMMITTEE.           .     .

10/26/20 PRH CORRESPONDENCE RE STATUS OF CLOSING OF SALE,                             .70       283,50
             WIND DOWN BUDGET (.2). PHONE CALLS WITH M.
             BRANDESS, J. MORDAN AND J. ROSELL RE WINDDOWN
             BUDGET (.5).

10/27/20 PRH CORRESPONDENCE RE CLOSING OF SALE.                                       . 10       40.50




    TOTAL HOURS        26 . 00         FOR SERVICES RENDERED                     $           10530.00




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                                     MATTER TOTAL                                $     10530.00




 •                            TIME AND FEE SUMMARY                                             *

 *          TIMEKEEPER          *    RATE   HOURS                                    FEES
 PAUL R. HAGE                      405.00   26.00                              10530.00
                           TOTALS           26 . 00                            10530.00




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    Official Committee of Unsecured Creditors of Barfly Ventures
    CASE ADMINISTRATION
**OPEN FOR TIME ONLY**


 DATE    ATTY    SERVICE DESCRIPTION                                            HOURS

10/14/20 MEC COMMUNICATIONS W/ P. HAGE RE MOTION NEEDED (.2)                       1.20    282.00
             PREPARE MOTION FOR ADMISSION PRO HAC VICE AND
             PROPOSED ORDER RE J. O'CONNOR (.8).
             INSTRUCTIONS FOR FILING MOTION AND SUBMISSION
             OF ORDER (.2).

10/16/20 PRH CORRESPONDENCE WITH COURT STAFF AND ESTATE                            .50         202.50
             PROFESSIONALS RE CLOSING, CONVERSION ISSUES.

10/19/20 PRH CORRESPONDENCE AND CALLS WITH M. BRANDESS RE                          .40         162.00
             REMAINING ISSUES TO BE ADDRESSED IN CASE.

10/23/20 PRH CONSIDER ISSUES RE CHAPTER 7 TRUSTEE.                                  .20         81.00

10/26/20 PRH CONSIDER ISSUE RE ELECTION OF CHAPTER 7                               1.10        445.50
             TRUSTEE.

10/30/20 PRH REVIEW PETITIONS FOR AFILLIATE ENTITIES AND                            .40        162.00
             RELATED CORRESPONDENCE WITH COMMITTEE.



   TOTAL HOURS         3.80          FOR SERVICES RENDERED                     $          1335.00



                                     MATTER TOTAL                              $          1335.00




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  *                           TIME AND FEE SUMMARY                                              *
  *         TIMEKEEPER          *    RATE   HOURS                                   FEES
 PAUL R. HAGE                      405.00    2 . 60                            1053.00
 MAUREEN E. CHAPMAN                235.00    1.20                               282.00
                           TOTALS            3.80                              1335.00




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    Official Committee of Unsecured Creditors of Barfly Ventures
    CLAIMS
**OPEN FOR TIME ONLY**


  DATE     ATTY     SERVICE DESCRIPTION                                                HOURS

10/13/20 PRH REVIEW GORDON FOOD SERVICES ORDERS.                                           . 10     40 . 50




      TOTAL HOURS         0 . 10          FOR SERVICES RENDERED                    $               40 .50




                                          MATTER TOTAL                             $                40,50




  *                                   TIME AND FEE SUMMARY                                               *

  *         -TIMEKEEPER-                *    RATE   HOURS                                   FEES
  PAUL R. HAGE                             405 .00    . 10                             40 . 50
                                   TOTALS             .10                              40.50




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    Official Committee of Unsecured Creditors of Barfly Ventures
    COMMITTEE COMMUNICATIONS
**OPEN FOR TIME ONLY**


  DATE     ATTY     SERVICE DESCRIPTION                                                HOURS

10/02/20 PRH ATTEND COMMITTEE CONFERENCE CALL RE SALE                                     .50      202.50
             SETTLEMENT.

10/06/20 PRH CORRESPONDENCE WITH COMMITTEE PROFESSIONALS RE                               .60      243.00
             COMMITTEE MEETING (.1), ATTEND WEEKLY
             COMMITTEE CALL (.5).

10/07/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE                                     .20       81.00
             MONTHLY FEE STATEMENTS.

10/15/20 PRH REVIEW COMMUNICATION TO COMMITTEE MEMBERS RE                                 . 10      40 . 50
             SALE ORDER.

10/20/20 PRH CORRESPONDENCE WITH COMMITTEE MEMBERS RE STATUS                              . 10      40. 50
             OF CASE.          '




      TOTAL HOURS         1.50           FOR SERVICES RENDERED                     $              607 .50




                                         MATTER TOTAL                              $              607.50




  *                                 TIME AND FEE SUMMARY                                                *

           --TIMEKEEPER               *    RATE .HOURS                                  FEES
  PAUL R. HAGE                           405.00    1.50                            607.50
                                 TOTALS            1.50                            607 .50




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    Official Committee of Unsecured Creditors of Barfly Ventures
    DISBURSEMENTS
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              *************** DISBURSEMENTS ****************

         TELEPHONE CHARGES CC                                                             6 . 81
07/01/20 PACER CHARGES NET CHARGES                                                      123.80
09/10/20 WESTLAW CHARGES                                                                 16 . 66


                                      TOTAL DISBURSEMENTS                      $          147 . 27


                                      MATTER TOTAL                             $          147.27




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    Official Committee of Unsecured Creditors of Barfly Ventures
    EXECUTORY CONTRACTS
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  DATE     ATTY     SERVICE DESCRIPTION                                                HOURS

10/19/20 PRH REVIEW ORDER AUTHORIZING REJECTION OF                                        . 10     40 . 50
             CONTRACTS.

10/20/20 PRH REVIEW FILED STIPULATION RE RESOLUTION OF                                    . 10     40 .50
             ADEQUATE ASSURANCE DISPUTE.

10/28/20 PRH REVIEW MOTION TO REJECT LEASES.                                              .20       81, 00




      TOTAL HOURS         0 .40          FOR SERVICES RENDERED                     $             162.00




                                         MATTER TOTAL                              $              162.00




  *                                  TIME AND FEE SUMMARY                                               *

  *          TIMEKEEPER                *    RATE   HOURS                                  FEES
  PAUL R. HAGE                            405.00     .40                           162.00
                                  TOTALS             .40                           162.00




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    Official Committee of Unsecured Creditors of Barfly Ventures
    FEE APPLICATIONS / OBJECTIONS
**OPEN FOR TIME ONLY**



  DATE   ATTY     SERVICE DESCRIPTION                                            HOURS

10/01/2 0 PRH REVIEW AMHERST DRAFT INVOICE AND RELATED                                . 10      40.50
              CORRESPONDENCE.

10/06/20 PRH REVIEW TIME ENTRIES FOR PREPARATION OF MONTHLY                          1.80      729.00
             FEE STATEMENTS (1.3). PREPARE COVER SHEETS FOR
             MONTHLY FEE STATEMENTS (.3). RELATED
             CORRESPONDENCE (.2).

10/07/20 PRH FINALIZE, FILE AND SERVE MONTHLY FEE                                     .40      162.00
             STATEMENTS.

10/14/20 PRH CORRESPONDENCE WITH J. O'CONNOR RE NEED TO                              .30       121.50
             PREPARE INTERIM FEE APPLICATIONS. AND REVIEW
             DRAFT TEMPLATE.

10/16/20 PRH REVIEW MASTODON FEE STATEMENT.                                           . 10      40.50

10/2 0/2 0 PRH REVIEW INTERIM FEE STATEMENTS FILED BY DEBTORS                         . 10      40.50
               PROFESSIONALS.




    TOTAL HOURS         2.80           FOR SERVICES RENDERED                     $           1134 . 00




                                       MATTER TOTAL                              $           1134.00




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 *
                             TIME AND FEE SUMMARY                                               *
 *          TIMEKEEPER         *    RATE   HOURS                                  FEES
 PAUL R. HAGE                     405.00    2.80                             1134.00
                          TOTALS            2.80                             1134.00




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                            Exhibit F
                        (Proposed Order)
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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF MICHIGAN

    In re:
                                                                    Chapter 11
    BARFLY VENTURES, LLC, et            al,4                        Case No. 20-01947-jwb
                                                                    Hon. James W. Boyd
                            Debtors.                                Jointly Administered


     ORDER APPROVING FIRST APPLICATION OF JAFFE RAITT HEUER & WEISS,
         P.C. FOR COMPENSATION & REIMBURSEMENT OF EXPENSES AS
       COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

             This matter having come before the Court on the First Application of Jaffe Raitt Heuer &

Weiss, P.C. for Compensation & Reimbursement of Expenses as Counsel to the Official Committee

of Unsecured Creditors (the "Application")5 wherein Jaffe Raitt Heuer & Weiss, P.C. ("Jaffe")

sought allowance of an administrative expense for fees and expenses incurred as counsel for the

Committee during the Application Period; notice of the Application being sufficient and consistent

with the Compensation Order; and no objections to the Application having been filed:

             IT IS HEREBY ORDERED:

             1.     The Application is granted.




4 The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella's Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand
Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann
Arbor, LLC (5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit,
LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC
(d/b/a HopCat-Broad Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a
HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCat-Louisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622),
HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck
of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden's Restaurant Saloon)(4255).

5   Capitalized terms not otherwise defined herein shall have the meaning given to them in the Application.
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        2.      Jaffe is granted an allowed administrative expense under section 503(b)(2) for

professional fees and expenses incurred during the Application Period in the amount of

$118,346.61.

        3.     The Debtors are authorized and directed to promptly pay to Jaffe the outstanding

balance of the fees and expenses allowed under this Order, in the amount of $17,721.89.

       4.      This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

                                      END OF ORDER


Order prepared and submitted by:

JAFFE RAITT HEUER & WEISS, P.C.
Paul R. Hage (P70460)
27777 Franklin, Suite 2500
Southfield, Michigan 48034
Phone: (248)351-3000
phagefa).] affelaw.com

Counsel for the Official Committee of Unsecured
Creditors of Barfly Ventures, LLC et. al.
